Group Exhibit 1

l30442997vl 0931879

CLlENT COPY

I'IINSI'IAW

 

Payment Address: & C U L B E R T S O N LL
HINSHAW & CULBERTSON
8142 SOLU'I`IONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS lDEN'I`IFICATION NO. XX-XXXXXXX
* INTERJM *

Invoice No: 11133335 DMS VMD
APRIL 12, 2012 In Connection with our Matter: 931879
Northwest Collectors, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Thomas R. Shoenig lnsured: Northwest Collectors, Inc.
3601 Algonquin Rd. ' Claimant: Beigl, Bill
Rolling Meadows, IL 60008 Your File Number: T1201860

Represent: Noithwest Collectors, Inc.
Court Ref` Number: 12-cv-00150
Coun Name: United States Disu‘ict Court

For professional services rendered through MARCH 30, 2012 ........ $3,715.00
For disbursements paid through MARCH 13, 2012 ................ $80.00
Total amount due this invoice ................................. $3,795.00
Total amount billed to Insurer this invoice ....................... ($0.00)
Your portion of this invoice ................................... $3,795.00

If you have any questions concerning this invoice please contact DAVlD M. SCHULTZ, CHICAGO office at (312)
704-3000.

Hinshaw & Culbenson LLP is an lllinois registered limited liability partnership thathas elected to be governed by thc Hlinois Unifonn Parmmhip Act (|997)

RETURN WlTH PAYMENT
APRIL 12, 2012
Invoice: 11133335
Payor: 73004
Matter: 931879

Regarding:
Fees: $3,715.00
Disbursements: $80.00
Total this invoice: $3,795.00
PAYMENT DUE ON THIS INVOICE .......................... $3,795.00

To ere Payment:The PrivateBank and Trust Company, Chicago, lL ABA# 071006486 Acct# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, [NC

02/14/12

02/15/12

02/15/12

02/15/12

02/15/12

02/15/12

02/15/12

02/15/12

02/16/12

02/16/12

02/16/12

02/20/ l 2

02/20/12

02/20/ l 2

DMS

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

SEvacF.s:

sTUDY THE EMAIL oN THE cLAIM, THE NoTEs, THE
coMPLArNT, THE suMMARY, AND NoTIcE wITH
ENcLosURE FROM THE coURT, ANALYziNG
FAcrs/IssUEs (.6); EMAIL wITH cLIENTs oN THE
DEFENSE (.1); cHEcK THE FED DOCKET FoR
0RDERs/DATES (.1)

READ AND EXAMI'NE COMPLAINT TO START
ANALYZING CLAIMS AND POTENTlAL DEFENSES

REVIEW AND EXAMINE DOCKET TOT ANALYZE AND
CONFIRM SERVICE DATE (2/9) AND COURT ORDERS
ENTERED BY J. SHADUR

DRAFT MEMO TO DOCKET TO DIARY STATUS DATE SET
BY JUDGE SHADUR

SEVERAL EMAILS WITH PLA[NTIFF'S COUNSEL ABOUT
OUR APPEARANCE IN CASE AND EXTENDING THE
PLEADING DATE BY AGREED MOTION

DRAF'I` MOTION TO ENLARGE PLEADING AND EXPLA],'N
REASONABLE BASIS FOR LAPSED PLEADING DATE

DRAFT LET'I`ER TO JUDGE SHADUR WITH COPY OF
MOTION TO ENLARGE PER LOCAL RULE 5.2

PREPARE ATTORNEY APPEARANCE FOR NORTHWEST

RECEIVE AND REVIEW ORDER GIU\NTING MOTION TO
EXTEND PLEADING DATE

DRAFT MEMO TO DOCKET TO DIARY NEW PLEADING
DATE FORNORTHWEST

DRAFT EMAIL TO CLlENTS TO REPORT NEW PLEADING
DATE, lNITlAL STATUS HEAR]NG DATE AND REQUEST
WE

DRAF'I` CORPORATE DISCLOSURE FOR NORTHWEST
COLLECTORS, lNC.

START WORK DRAF'I`ING ANSWER AND AFFIRMATIVE
DEFENSES

CONDUCT SEARCH FOR DEFENDANT ON IL SEC OF
STATE WEBSITE TO PREPARE CORPORATE DISCLOSURE
AND ANSWER ON BEHALF OF DEFENDANT

Page: 2 APRIL 12, 2012
0931879-11133335

0.80

0.30

0.10

0.10

0.20

0.40

0.20

0.20

0.10

0.10

0.10

0.30

0.70

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

02/20/12

02/20/12

02/20/ 1 2

02/21/12

02/21/12

02/21/12

02/21/12

02/21/12

02/21/12

02/28/12

02/29/ 1 2

02/29/12

03/01/12

03/01/12

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CCH

READ AND EXAMINE CLIENT ACCOUNT NOTES, LET'I'ER
AND BBB COMPLAINT TO START WORK PREPARING
AFFIRMATIVE DEFENSES TO COMPLAINT

READ AND EXAMINE SEVERAL EMAILS WITH CLIENTS
ABOUT

 

coNF wITH ToM s. oN THE FACTS, NOTES,
vaEsTIGATioN (.2); REVIEW THE AccoUNT NoTEs
AND coMPARE To THE coMPLAINT, _

(.2); sTuDY THE EMAIL
AND sPREADsHEET (.2); DRAFT 1NIT1AL ANALYsls
REPoRT, INcLuDlNG REerme THE
NoTEs/PLEADING (.3);EMA1LS wlTH_

DRAFT EMAIL TO CLlENTS WITH PLEADINGS TO
REVIEW FOR 3/1 PLEADING DATE

COMPLETE DRAFTI'NG ANSWER AND AFFIRMATIVE
DEFENSES

CALL FROM TOM S WITH CHANGES TO THE ANSWER

REVISE AND EDIT ANSWER TO INCORPORATE TOM S'S
CHANGES

DRAFT EMAIL TO TOM S. WITH REVISED ANSWER
DRAFT/REVISE THE ANSWER

DRAFT E-MAIL TO INSURED WITH REVISED ANSWER
FOR HIS COMMENT

REVIEW DRAF'I` ANSWER IN ORDER TO RESPOND TO
EMAIL FROM TOM S ABOUT SAME

RECEIVE REVIEW AND RESPOND TO EMAIL FROM TOM
S ABOUT

DRAF'I` LETTER TO JUDGE SHADUR WITH COURTESY
COPlES OF ANSWER AND CORPORATE DISCLOSURE PER
HIS STANDING ORDER AND LOCAL RULE 3.2

REVIEW AND MAKE FINAL CHANGES TO ANSWER I'N
PREPARATION TO FILE

Page: 3 APRIL 12, 2012
0931879-11133335

0.30

0.20

l.OO

0.10

0.40

0.10

0.10

0.10
0.20

0.10

0.10

0.20

0.20

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

03/05/12

03/05/1 2

03/12/12

03/13/12

03/13/12

03/15/12

03/16/12

03/16/12

03/16/12

03/16/12

03/16/12

03/16/12

03/19/12

03/19/12

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CONDUC'I` RULE 26F CONFERENCE WITH PLAINTIFF'S
COUNSEL

REVIEW AND EXAMINE JUDGE SHADUR' ORDER FOR
INI'I`IAL CONFERENCE ON DISCOVERY AND INITIAL
STATUS HEARING ]N PREPARATION TO PARTICIPATE IN
RULE 26F CONFERENCE WITH OPPOSING COUNSEL

DRAFT LET'I`ER 'I`O JUDGE SHADUR WITH COURTESY
COPY OF AMENDED FILING

cALL wITH ToM s. ABOUT THE REVISED PLEADING
AND_

REleW AND EXAMINE EMAlL FROM TOM s-

DRAFT EMAIL TO SHAWN H FOR DEC PAGE TO DRAFT
26A DISCLOSURES

  
  

DRAFT EMAlL TO TOM S TO REQUEST HE CONFIRM
INFORMATION FOR 26A DISCLOSURES, ADVISE -

READ AND EXAMINE ACCOUNT NOTES, COMPLAINT
AND NOTES FROM CALLS WITH INSURED IN
PREPARATION TO START DRAF'I`ING DISCOVERY TO
PROPOUND TO PLAINTIFF AND DRAFT RULE 26(A)
DISCLOSURES

START DRAFTING RULE 26A DISCLOSURES FOR NC

DRAF'I` REQUEST TO ADMIT FACTS TO PROPOUND ON
PLAIN'I'IFF

DRAFT INTERROGATORIES TO PROPOUND ON
PLAINTIFF

DRAFT REQUES'I` TO PRODUCE DOCUMEN'I`S TO
PROPOUND ON PLAl`NTIFF

DRAF'I` EMAlL TO PLA[NTIFF'S COUNSEL ABOUT RULE
26A DISCLOSURES

RECEIVE AND REVIEW EMAIL FROM TOM S WITH
INFORMATION T() COMPLETE 26A DISCLOSURES AND
HlS

Page: 4 APRIL 12, 20l2
0931879-11133335

0.20

0.10

0.20

0.20

0.10

0.10

0.30

0.30

0,30

0.50

0.70

0.70

0.10

0.20

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

03/19/12

03/19/12

03/19/12

03/20/ l 2

03/20/ 1 2

03/20/1 2

03/20/1 2

03/20/12

03/20/12

03/20/12

03/21/12

03/21/12

03/23/ 12

03/30/12

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

DMS

CCH

CCH

RECEIVE REVIEW AND RESPOND TO EMAlL FROM
PLAINTIFF'S COUNSEL ON 26A DISCLOSURES

COMPLETE DRAFTI'NG RULE 26A DISCLOSURES FOR
NORTHWEST

sTUDY PLAlNTIFPs R. 26A DISCLosuREs AND
DOCUMENTS (.1); sTUDY cLlENTs EMAlL oN DEFENSE
AND FACTS (.1)

APPEAR IN COURT FOR STATUS HEARING BEFORE
JUDGE SHADUR; REPORT ON DISCOVERY AND SET
FU'I'URE DISCOVERY STATUS

RECEIVE AND REVIEW ORDER SE'I'I`ING SUBSEQUENT
STATUS

DRAF'I` EMAIL TO DOCKET TO DIARY DISCOVERY
STATUS

DRAFT EMAH. TO CLlENTS TO REPORT ON lNITIAL
COURT STATUS, PROVIDE PLAINTIFF'S INITIAL
DISCLOSURES A BRIEF SUMMARY OF THEM AND

READ AND STUDY PLAINTIFF’S RULE 26A DISCLOSURES
AND DOCUMENT; NOTE ISSUES/DOCUMENTS TO
FOLLOW UP WITH ON WITH CLIENTS

RECEIVE AND REVIEW RECORDS FROM NC'S CLlENT ON
THE MEDICAL RECORDS AND WHER_E/HOW NUMBER AT
ISSUE OBTAINED

RECEIVE AND REVIEW EMAIL FW
ADDITIONAL lNFORMATION ON

DRAFT EMAIL TO PLAINTIFF ABOUT THE TAPES
REFERENCED l'N INI'I`IAL DISCLOSURES AND REQUES'I`
COPY BE MADE

REVIEW THE R. 26 DISCLOSURES

DRAF'I` EMAIL TO SHAWN H TO FOLLOW UP ON
REQUEST FOR DEC PAGE

RECEIVE REVIEW AND STUDY PLAINTIFFS DISCOVERY
TO NCI; DIARY RESPONSE DATE

Page: 5 APR]L 12, 2012
0931879-11133335

0.10

0.30

0.20

1.50

0.10

0.10

0.30

0.40

0.10

0.20

0.10

0.20

O.lO

0.30

NORTHWEST COLLECTORS, INC. Page: 6 APRIL 12, 20'1¢.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-1 l 133335

03/30/| 2 CCH DRAF'I` EMAIL TO CLlENTS WITH PLAINTIFF'S 0.20
DISCOVERY, BRIEF SUMMARY OF DISCOVERY, WE
WILL START DRAFTING RESPONSE AND WILL WORK TO
FINALIZE ANSWERS WITH INSURED

Total hours this matter: 15 . 1 0
Total fees this matter: $3,715.00

DlSBURSEMENTSZ

03/02/12 VENDOR: HINSHAW & CULBERTSON; INVOICE#: 40.00
931879030212; DATE: 3/2/2012 - DOCKET DEPARTMENT
REQUEST TO DELIVER TO JUDGE SHADUR

03/ l 3/ 12 VENDOR: HINSHAW & CULBERTSON; INVOICE#: 40.00
931879031312; DATE: 3/13/2012 - DOCKET DEPARTMENT
REQUEST TO DELIVER TO JUDGE SHADUR

Total disbursements this matter: 80.00

Total fees this bill $3,715.00
Total disbursements this bill $80.00

Total this bill $3,795.00

NORTHWEST COLLECTORS, INC. Page: 7 APR]L 12, 2012

 

Re: BEIGL, BlLL VS NORTHWEST COLLECTORS, INC 0931879-11133335
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C 4.60 Hours at 220.00 = $1,012.00
CCH HEGGIE, CORINNE C 8.10 Hours at 250.00 = $2,025.00
DMS SCHULTZ, DAVlD M. 2.00 Hours at 280.00 = $560.00
DMS SCHULTZ, DAVlD M. 0.40 Hours at 295.00 = $118.00
$3,715.00

Recap of Disbursements:

FEES AND COURT COSTS $80.00

 

Total disbursements $80.00

CLlENT COPY

l'lINSl'IAW

 

Payment Address: & C U L B E R T S O N LL
HINSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO lL 60677-8()01 IRS IDENTIFlCATlON NO. XX-XXXXXXX
* INTER]M *

Invoice No: 11142715 DMS VMD
MAY 11, 2012 In Connection with our Matter: 931879
Northwest Collectors, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Thomas R. Shoenig Insured: Northwest Collectors, Inc.
3601 Algonquin Rd. Claimant: Beigl, Bill
Rolling Meadows, lL 60008 your File Number: T1201860

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv~00150
Court Name: United States District Court

For professional services rendered through APRlL 30, 2012 ......... $2,| 21.00
F or disbursements paid through APRIL 25 , 2012 .................. $110.00
Total amount due this invoice ................................. $2,231.00
Total amount billed to insurer this invoice ....................... ($0.00)
Your portion of this invoice ................................... $2,231.00

If you have any questions concerning this invoice please contact DAVlD M. SCHULTZ, CHICAGO office at (312)
704-3000.

Hinshaw & Culber\‘.soo LLF is ao lllinois registered limited liability partnership that has elected to be governed by the lllinois Unifonn Parmership Act( 1997)

RETURN WITH PAYMENT

MAY 11, 2012
Invoice: 11142715
Payor: 73004
Matter: 931879
Regarding:
Fees: $2,121.00
Disbursements: $l 10.00
Total this invoice: $2,231.00
PAYMENT DUE ON THIS INVOICE .......................... $2,231.00
BALANCE DUE PRIOR INVOICES ........................... $3,795.00

(See last page for details)

To Wire Payment:The PrivateBank and Trust Company, Chicago, IL ABA# 071006486 Acet# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

04/05/12 DMS

04/16/12

04/16/12

04/16/12

04/16/12

04/17/12

04/17/12

04/]7/]2

04/18/12

04/18/12

04/18/12

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

SERvicEs:

STUDY PL'S REQUESTS TO ADM]T, INTERROG'S AND
REQUESTS TO ADMIT, IDENTIFYING DRAFT ANSWERS
FOR RTA

CALL WITH PLAINTIFF'S COUNSEL ABOUT THE
RECORDING

DRAFT EMAIL TO CLlENT TO REPORT WE WILL MAKE
COPY OF MINI CASSETTE RECORDING WITH THIRD
PARTY VENDOR AND TO ADVISE DRAF'I` DISCOVERY
ANSWERS ARE FORTHCOMING; REQUEST COPY OF DEC
PAGE FROM SHAWN H.

RECEIVE REVIEW AND RESPOND TO EMAlL FROM TOM
S ABOUT THE RECORD[NG

REVIEW AND EXAMINE NOTES FOR CALL WITH TOM S,
CLIENT DOCUMENTS AND PLAINT]FF'S RULE 26A
DISCLOSURE TO START WORK DRAFTING ANSWERS TO
DISCOVERY

DRAFT EMAIL TO PLATNTIFF'S COUNSEL ABOUT
LISTENING TO TAPE SO WE CAN RESPOND TO THEIR
DlSCOVERY RESPONSES

EMAILS WITH PLAINTIFF'S COUNSEL TO CONFIRM
THEIR ONE WEEK EXTENSION TO RESPOND 'I`O
DEFENDANT'S DISCOVERY

START WORK DRAFI`ING ANSWERS/OBJECTIONS TO
DISCOVERY ON NC'S BEHALF, SPECIFICALLY
REQUESTS TO ADMIT FACTS

CONTINUE WORK DRAF'I`ING ANSWERS TO
INTERROGATORIES AND PRODUCTION REQUESTS;
NOTE [NFORMATION/DOCUMENTS TO CONFIRM OR
FOLLOW UP GN WITH INSURED

CONFERENCE WITH FRANCIS GREENE AT EDELMAN‘S
OFFICE TO REVIEW RECORDINGS AT ISSUE, DISCUSS
DISCOVERY AND FACTS ALLEGED AS TO THE
RECORDINGS

DRAF'I` EMAIL 'I`O CLlENTS WITH UPDATE EON
RECORDINGS AND IDENTlFY
D\IFORMATION/DOCUMENTS TO CONFIRM SO WE CAN
FINALIZE OUR DISCOVERY RESPONSES

Page: 2 MAY ll,2012
0931879-11142715

0.20

0.10

0.20

0.10

0.40

0.10

0.10

0.40

0.50

0.80

0.30

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

04/18/12

04/18/12

04/18/12

04/18/12

04/18/12

04/18/12

04/18/12

04/18/12

04/19/12

04/19/12

04/20/ l 2

04/20/ l 2

04/20/ l 2

CCH

CCH

CCH

CCH

VB

CCH

CCH

DRAF'I` LET'I`ER TO PONTIS'SYSTEMS WITH CASSET'I`E
AND OUTLINE INSTRUCTION FOR RECORDING
CONTEN'I` TO CD

PREPARE NOTICE FOR PLAINTIFF BILL BEIGL'S
DEPOSITION

RECEIVE AND REVIEW EMAIL FROM TOM S ABOUT
DOCUMENTS/INFORMATION SOUGHT FOR DISCOVERY

DRAFT EMAIL TO TOM S ABOUT

DRAF'I` MEMO RELA'I`ING TO [NFORMATION NEEDED TO
RESPOND TO DISCOVERY AND TO PREPARE FOR
PLAINTIFF'S DEPOSITION

REVIEW AND ANALYZE RESEARCH RELATING TO
DISCOVERY ANSWERS AND PREPARATION FOR
PLAINTIFF'S DEPOSITION

BEGIN TO DRAFT MEMO REGARDING INFORMATION
RETRIEVED AND REVIEWED RELATING TO DISCOVERY
ANSWERS AND PREPARATION FOR PLAINTIFF'S
DEPOSI'I`ION

RESEARCH AND DOCUMENT RETRIEVAL RE: PLAI,NTIFF
BACKGROUND CI'[ECK FOR K. TRESLEY.

RECEIVE AND REVIEW EMAIL FROM TOM S
CONFIRMING

CALL WlTH VENDOR COPYING TAPE; ANSWER
QUESTION ABOUT ORGANIZA'I`ION OF RECORDINGS

REVIEWED RECORDINGS PRODUCED BY PLAINTIFF IN
DISCOVERY TO DETERMINE IF FOLLOW-UP IS
NECESSARY AND TO PREPARE FOR PLAINTIFF'S
DEPOSITlON

TRANSCR!BED PERTINENT INFORMATION FROM
RECORDINGS PRODUCED BY PLAINTlFF l'N DISCOVERY
TO DETERMINE [F FOLLOW-UP IS NEEDED AND TO
PREPARE FOR PLAINTIFF’S DEPOSITION

REVIEWED AND ANALYZED ALLEGAT!ONS IN
COMPLAINT AS COMPARED TO INFORMATION
REVIEWED FROM RECORDINGS PRODUCED BY
PLAINTIFF (TO DETERMINE lF FOLLOW-UP IS NEEDED
AND TO PREPARE FOR PLAINTIFF'S DEPOSITION)

Page: 3 MAY ll, 2012
0931879-11142715

0.30

0.30

0.10

O.lO

0.30

0.50

0.20

0.50

0.10

0.10

0.90

0.60

0.30

NORTHWEST COLLECTORS, INC. Page: 4 MAY ll, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879~11142715

04/20/12 KHT BEGAN To DRAFT MEMo sUMiviAszING INFoRMATIoN 0.20
REVIEWED FRoM RECORDINGS (PRoDucED BY
PLAINTIFF) As coMPARED rro ALLEGATloNs IN
coMPLAiNr (ro DETERMINE wHETHER FoLLow-UP Is
NEEDED AND ro PREPARE FoR PLAINTIFPS
DEPosITIoN)

04/23/ 12 CCH READ AND EXAMINE SUMMARY OF PLAINTIFF'S 0.20
LITlGATION BACKGROUND AND ACCURINT SEARCH
AND SUMMARIES OF RECORDlNGS/CONVERSATIONS
ON CD TO ASSIST WITH ANSWERING DISCOVERY AND
IDEN'I`IFY SUPPLEMENTAL DISCOVERY

04/23/ 12 KHT REVISED MEMO ANALYZING RECORDINGS PRODUCED 0.30
BY PLAINTIFF TO DETERMINE IF FOLLOW-UP IS
NEEDED AND TO PREPARE FOR PLAIN'I'IFF'S
DEPOSITION

04/23/ 12 KHT REVISED MEMO REVIEWING AND ANALYZING 0.20
BACKGROUND [NFORMATION REGARDTNG PLAINTIFF
IN FURTHERANCE OF DISCOVERY ANSWERS AND
PREPARATION FOR PLAIN'I`IFF'S DEPOSITION

04/25/ 12 CCH DRAFT LET'I`ER TO PLAINT[FF'S COUNSEL ENCLOSING 0.20
THE ORIGINAL MINI CASSET'I`E AND COPY OF CD

04/25/12 CCH EMAILS WITH PLAINTIFF'S COUNSEL ABOUT 0.20
DISCOVERY RESPONSES AND CONFIRMTNG MUTUAL
EXTENSIONS

04/25/ 12 CCH CALL WITH SHAWN H ABOUT THE DEC PAGE 0.10

04/25/12 CCH DRAFT LETTER TO CLlENTS WITH CD AND 0.40

SUMMARIZING THE CONTENTS OF THE RECORD]NGS

04/30/ 12 CCH RECEIVE AND REVle EMAIL FROM INSURED ABOUT 0.10
THE RECORDTNGS AND HIS
INVES'I`IGATION/IMPRESSIONS OF SAME

Total hours this matter: 9.40
Total fees this matter: $2,121.00

DlSBURSEMENTS$

04/19/12 PAYEE: PONTIS SYSTEMS, INC.; INVOICE#: 20120049; 50.00
DATE: 4/19/2012 - PONTlS SYSTEMS - CONVERT
MICROCASSE'I`TE TO CD

NORTHWEST COLLECTORS, lNC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

04/25/12

VENDOR: HINSHAW & CULBERTSON; INVOICE#:
931879042512; DATE: 4/25/2012 - LITIGATION SUPPORT
SERVlCES CD-ROM COPlES 3@ 20.00

Page: 5 MAY 11, 2012

Total disbursements this matter:

Total fees this bill

Total disbursements this bill
Total this bill

Total prior bills (list follows)
Total bills payable:

$2,121.00

$1 10.00
$2,231.00
$3,795.00
$6,026.00

0931879-11142715

60.00

l l0.00

NORTHWEST COLLECTORS, INC. Page: 6 MAY l 1, 2012

 

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11142715
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C 5.20 Hours at 250.00 = $1,300.00
VB BROWN, VIRGINlA 0.50 Hours at 95.00 = $47.50
KHT TRESLEY, KATHERINE H 3.50 Hours at 205.00 = $717.50
DMS SCHULTZ, DAVID M. 0.20 Hours at 280.00 = $56.00
$2,121.00

Recap of Disbursements:

 

LITIGATION SUPPORT VENDORS $60.00
OTHER PROFESSIONALS - $50.00
Total disbursements $1 10.00

 

Unpaid Prior Invoices *

Number Date Amount Due
11133335 04/12/12 $3,795.00
Tota| $3,795.00
This Invoice $2,23 1.00
Total Current & Prior Invoices $6,026.00

* If you have any questions concerning prior invoices, please call our Accounts Receivable Department at 312-704-
3443.

 

CLlENT COPY

I'IINSI'IAW

 

PaymentAddress: & C U L B E R T SO N LLP
HINSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS IDEN'I'IFICATION NO. XX-XXXXXXX
* lNTERIM *

invoice No: 11148103 DMS VMD
JUNE 7, 2012 In Connection with our Matter: 931879
Northwest Collectors, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Thomas R. Shoenig Insured: Northwest Collectors, Inc.
3601 Algonquin Rd. Claimant: Beigl, Bill
Rolling Meadows, IL 60008 Your File Number: T1201860

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv-00150
Court Name: United States District Court

For professional services rendered through MAY 31, 2012 .......... $2,860.50
For disbursements paid through APRIL 30, 2012 .................. $8.75
Total amount due this invoice ................................. $2,869.25
Total amount billed to Insurer this invoice ....................... ($0.00)
Your portion of this invoice ................................... $2,869.25

If you have any questions concerning this invoice please contact DAVlD M. SCHULTZ, CHICAGO office at (312)
704'3000.

Hinshaw & Culbemon LLF is an lllr'nois registered limited liability partnership that has elected to be governed by the illinois Unit`orm Parrnership Act (1997)

RETURN WlTH PAYMENT

JUNE 7, 2012
Invoice: 11148103
Payor: 73004
Matter: 931879
Regarding:
Fees: $2,860.50
Disbursements: $8.75
Tota| this invoice: $2,869.25
PAYMENT DUE ON THIS INVOICE .......................... $2,869.25
BALANCE DUE PRIOR INVOICES ........................... $6,026.00
(See last page for details)

To Wire Payment:The PrivateBank and Trust Company, Chicago, lL ABA# 071006486 Acct# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

05/01/12

05/01/12

05/02/ 1 2

05/02/12

05/02/ 12

05/04/ l 2

05/04/12

05/04/ 12

05/04/ 1 2

05/04/12

05/04/ 12

CCH

DMS

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CCH

CCH

SERV|CESZ

READ AND STUDY PLAINTlFF'S WRITTEN ANSWERS TO
DISCOVERY (IROGS, RTP AND REQ. TO ADM"IT); NOTE
INFORMATION TO FOLLOW UP ON PER RULE 37.2 AND
QUESTIONS FOR DEPOSITION

STUDY PLAINTIFF'S ANSWERS TO REQUESTS TO
PRODUCE, REQUESTS TO ADMIT AND
INTERROGATOR[ES

DRAFT EMAIL TO CLlENT WITH PLAINTIFFS
DISCOVERY RESPONSES, BRIEF SUMMARY OF
[NFORMATION OBTAINED, IDENTIFY INFORMATION
WE'D NEED TO FOLLOW UP ON AND THAT OUR DRAFT
DISCOVERY RESPONSES ARE FORTH COMING

RECEIVE REVIEW AND RESPOND TO EMAIL FROM
ADAM AT NCI ABOUT THE PREFIX OF THE NUMBER
IDENTIFIED ON 11/2/2011 INCOMING CALL

REVIEW PLAINT!FF'S INTERROGATORY ANSWERS

RECEIVE AND sTuDY E-MAIL FRoM TRS ABOUT
11/2/2011 CALL AND s'rANcE Ncr wANTs To TAKE -

DRAF'I` E-MAIL TO CLlENTS WITH DRAFT DISCOVERY
RESPONSES, OUTLINE WHAT WE NEED INPUT ON AND
POTENT[AL WAY TO ADDRESS THESE OPEN ITEMS

READ AND EXAMINE ALL CLlENT
FILES/LETTERS/ACCOUNT NOTES AND E-MAILS TO
FINALIZE AND COMPLETE ANSWERS TO
INTERROGATORIES AND REQUESTS TO PRODUCE AND
SPECIFICALLY TO ARTICULATE BONA FIDE ERROR
DEFENSE

COMPLETE DRAFTING ANSWERS TO REQUEST TO
ADMIT, INTERROGATORIES AND R_EQUEST TO
PRODUCE

DRAFT RULE 37.2 LET'I`ER TO PLAINTIFF ABOUT
PARAGRAPH 14 AND NO RECORDING FOR THAT CALL
AND OUR DEMAND FOR RESPONSE TO REQUEST FOR
PLAINTIFF'S LAND LINE PHONE BlLLS FROM 1/1/2011 TO
12/31/1 l

DRAF'I` SECOND SET OF REQUEST TO ADMIT FACTS
AND [NTERROGATORIES TO PLA[NTIFF BEIGL

Page: 2 JUNE 7, 2012
0931879-11148103

0.40

0.20

0.30

0.10

0.20

0.20

0.30

0.40

0.90

0.30

0,60

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

05/04/1 2

05/04/ 12

05/07/12

05/07/12

05/07/12

05/07/ 12

05/07/12

05/07/ 12

05/07/ 1 2

05/08/12

05/08/12

05/08/ l 2

CCH

DMS

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

RECEIVE, REVIEW AND RESPOND TO E-MAIL FROM
TRS/INSURED ABOUT CONCERNS ABOUT BEIGL'S

REVIEW THE DRAFT DISCOVERY ANSWERS AND
PROVIDE ASSISTANCE RE: BFE

RECEIVE AND REVIEW EMAIL FROM TOM S ABOUT THE
STRATEG

CONDUCT INVESTIGATION ON LINE FOR CASES IN
WHICH NORTHWEST HAS BEEN A NAMED DEFENDANT
TO RESPOND TO DISCOVERY ANSWERS

SUPPLEMENT RESPONSE TO REQUEST 9 WITH LIST OF
CASES IN FEDERAL COURT WHEREIN NCl HAS BEEN A
DEFENDAN'I`

RECEIVE AND REVIEW EMAIL FROM FRANCIS ABOUT
WENDY ADAMS CONVERSATION AND OUR 37.2
POSITION ON THE RECORDS FOR THE LAND LINE

CALL WITH TOM S ABOUT CASE AND
COMMUNICATING WITH EDELMAN ABOUT

REVIEWED AND ANALYZED LAW FOR DEVELOPING
BONA FIDE ERROR DEFENSE IN PREPARATION TO

  
 

DRAFTED MEMORANDA FOR DEVELOPING BONA FIDE
ERROR DEFENSE

SUPPLEMENT AND REVIEW RESPONSES TO REQUESTS
TO PRODUCE WITH DOCUMENTS NCI WILL PRODUCE
ACCORDING TO RULE 34

CALL WITH OPPOSING COUNSEL ABOUT DISCOVERY
I'I'EMS, ORAL DISCOVERY AND FACTS/THEORIES
ALLEGED AND PERCE]VED ISSUES WITH RECORDING
AND ITS AUTHENTICITY

DRAFT EMAIL TO PLAINTIFF'S COUNSEL TO CONF!RM
THE TWO DAY EXTENSION DISCOVERY AND TO
CONFIRM PLAINTIFF'S DEP NEEDS TO BE RESEARCHED
AND THAT HE IS CHECKI`NG ON ALL PHONE NUMBER

Page: 3 JUNE 7, 2012
0931879-11148103

0.10

0.30

0.10

0.20

0.10

0.10

0.20

1.90

1.80

0.30

0.30

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

05/08/ 12

05/10/12

05/11/12

05/11/12

05/14/12

05/14/12

05/14/12

05/15/12

05/15/12

05/22/ 1 2

05/22/ 12

05/29/ 1 2

05/29/ 12

KH'I`

CCH

CCH

CCH

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CCH

CCH

EDITED AND REVISED MEMORANDUM DEVELOPING
BONA FlDE ERROR DEFENSE_

DRAFT EMAILS TO PLAINTIFF TO CONFIRM EXTENSION
FOR DISCOVERY ANSWERS

DRAFT EMAIL To cLIENT erH FINAL DISCOVERY To
vERIFY, NOTE_ DOCUMENTS
AND sUMMARIZE cALL wITH PLAINTIFF AND ourt
QUESTIONS ABOUT AUTHENTICITY 0F RECORDINGS
AND THEIR PosrrloN

RECEIVE AND REVIEW EMAIL FROM TOM S ABOUT
DISCOVERY RESPONSES AND CHANGES/COMMENTS

EMAILS (3) WITH OPPOSING COUNSEL ABOUT PHONE
NUMBERS, PLAINTIFF'S DEPOSITION AND DISCOVERY
DEADLFNES

DRAFT NOTICE FOR PLAINTIFF BILL BIEGL'S
DEPOS]TION

REVIEW cLIENTs EMAIL oN FAcTs, AND views THAT
THE cAsE lF FRIvoLoUS (.1); cHEcK THE AccouNT
RECORDS As To THE cALLs To TRY To DETERMINE
How

(.1); coMPARE THE NoTEs To THE coMPLArNT (.1)

CALL TO PLAINTIFFS COUNSEL ABOUT DISCOVERY
RESPONSES FROM NCI

DRAFT EMAIL TO PLAINTIFF TO CONFIRM WEEK
EXTENSION FOR RESPONSES TO REQUESTS TO ADMIT

DRAFT EMAIL TO PLAINTIFF TO SEEK ONE WEEK
EXTENSION ON DISCOVERY RESPONSES AND
REASONABLE BASIS FOR REQUEST

RECEIVE REVIEW AND RESPOND TO EMAIL FROM
PLAINTIFF'S COUNSEL AGREEING 'I`O ONE WEEK'S
EXTENSION

REVISE AND EDIT DISCOVERY RESPONSES WITH
COMMENTS FROM MR. SHOEING'S 5/11/2012 EMAlL

DRAFT EMAIL TO PLAINTIFF'S COUNSEL WITH
RESPONSES TO REQUEST TO ADMIT AND UPDATE ON
ANSWERS TO BALANCE OF WRITTEN DISCOVERY

Page: 4 JUNE 7, 2012
0931879-11148103

0.40

0.10

0.30

0.10

0.10

0.20

0.30

0.10

O.IO

0.10

0.10

0.30

0.10

1

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

Page: 5 JUNE 7, 2012
0931879-11148103

05/29/12 CCH RECEIVE REVIEW AND RESPOND TO EMAIL FROM 0. 10
PLAINTIFF' S COUNSEL ABOUT PLAINTIFF’S
DEPOSITION
05/29/12 CCH RECEIVE AND REVIEW EMAIL FROM PLAINTIFF' 0.10
COUNSEL CONFIRMING EXTENSION FOR BALANCE OF
WR]TTEN DISCOVERY ANSWERS FOR DEFENDANT
05/31/12 CCH EMAILS WITH PLAINTlFF ABOUT THE PLAINTIFFS 0.10
DEPOSITION AND THE RECORDINGS TO BE PLAYED
Total hours this matter: 12.00
Total fees this matter: $2,860.50
DrsBURsEMENTs:
04/30/12 PAYEE: LEXISNEXIS RISK DATA MANAGEMENT INC.; 8.75
lNVOICE#: 119521020120430; DATE: 4/30/2012 - PUBLIC
RECORDS/DOCUMENT SEARCH
Total disbursements this matter: 8.75
Tota] fees this bill $2,860.50
Total disbursements this bill $8.75
Total this bill $2,869.25
Total prior bills (list follows) $6,026.00

Total bills payable: $8,895.25

NORTHWEST COLLECTORS, INC. Page: 6 JUNE 7, 2012

 

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11148103
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C 6.90 Hours at 250.00 = $1,725.00
KHT TRESLEY, KATHERINE H 4.10 Hours at 205.00 = $840.50
DMS SCHULTZ, DAVlD M. 1.00 Hours at 295.00 = $295.00
$2,860.50

Recap of Disbursements:

 

 

OTHER PROFESSIONALS $8.75
Total disbursements $8.75
Unpaid Prior lnvoices *
Number Date Amount Due

11133335 04/12/12 $3,795.00

11142715 05/11/12 $2,231.00

Total $6,026.00

This Invoice $2,869.25

Total Current & Prior Invoices $8,895.25

* If you have any questions concerning prior invoices, please call our Accounts Receivable Department at 312-704-
3443.

 

CLlENT COPY

HINSHAW

 

Payment Address: & C U L B E R T S 0 N L LP
HINSHAW &. CULBERTSON
8142 SOLUTlONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS IDENTlFlCATION NO. XX-XXXXXXX
* lNTERlM *

Invoice No: l 1157952 DMS VMD
JULY ll, 2012 In Connection with our Matter: 931879
Northwest Collectors, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Thomas R. Shoenig Insured: Northwest Collectors, Inc.
3601 Algonquin Rd. Claimant: Beigl, Bill
Rolling Meadows, IL 60008 Your File Number: T1201860

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv-00150
Court Name: United States District Court

For professional services rendered through JUNE 29, 2012 .......... $4,838.50
For disbursements paid through JUNE 20, 2012 ................... $5 84.60
Total amount due this invoice ................................. $5,423.10
Total amount billed to lnsurer this invoice ....................... ($4,318.35)
Your portion of this invoice ................................... $1,104.75

If you have any questions concerning this invoice please contact DAVlD M. SCHULTZ, CHICAGO office at (312)
704-3 000.
Hinshaw & Culhcrtsou LLP is an lllinois registered limited liability partnership that has elected to be governed by the llli.nois Uniform Partner'ship Act (1997)

RETURN WlTH PAYMENT
IULY 11, 2012
Invoice: 1 l 157952
Payor: 73004
Matter: 931879

Regarding:

Fees: $762.69

Disbursements: $342.06

Total this invoice: $1,104.75
PAYMENT DUE ON THlS INVOICE .......................... $1,104.75
BALANCE DUE PRIOR INVOICES ........................... $8,895.25

(See last page for details)

To Wire Payment:'l'he PrivateBank and Trust Company, Chicago, IL ABA# 071006486 Acct# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COI.LECTORS, INC

06/01/12

06/01/12

06/01/12

06/04/12

06/04/1 2

06/05/1 2

06/06/12

06/06/1 2

06/07/12

06/07/12

06/07/12

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

SEvacEs:

DRAFT EMAIL TO MR. CRAWFORD WITH DRAFT IROG
AND RTPS, EXPLAIN WE HAVE INCLUDED
CHANGES/COMMENTS FROM MR. SHOENIG AND WE
PROVIDE THEM TO H]M FOR REVIEW AS WE DlSCUSSED
HIM AS THE SIGNATORY TO THE DISCOVERY

READ AND EXAMINE DRAFT DISCOVERY RESPONSES
AND EMAILS FROM/WITH NCI ON DISCOVERY TO
ASSIST WlTH ANSWERlNG DISCOVERY HERE AND
SPECIFICALLY BFE DEFENSE/DOCUMENTS

RECErvE EMAIL FROM MR. sHoEING THAT HE DoEs
NoT_

RECEIVE AND REVIEW EMAIL FROM PLAH‘lTIFF'S
COUNSEL REGARDING THE BALANCE OF DEFENDANT'S
DISCOVERY

DRAFT RESPONSE TO EMAIL FROM PLAINTIFF'S
COUNSEL REGARDING DISCOVERY RESPONSES AND
WAI'I`ING ON CLlENT VERIFICATION

REVIEW AND STUDY FEDERAL RULES OF EVIDENCE
APPLICABLE TO RECORDINGS TO ASSIST WITH
DEVELOPING UESTIONS

  

DEPOSE BEIGL

LISTEN TO RECORDINGS PLAIN‘TIFF PRODUCED IN

DISCOVERY TO PREPARE TOF

CALL WITH TOM S ABOUT PLAINTl'FF'S DEPOSITION
AND DISCOVERY POSTURE

RECEIVE AN REVIEW EMAIL FROM TOM S ABOUT THE
RECORDING AND HIS THOUGHTS ON SAME AFTER A
SECOND LISTEN

DRAFT EMAIL TO DOCKET TO IDENTIFY CASE NAME,
NUMBER AND WHAT DOCUMENTS WE WANT PULLED
FROM COURT FILE FOR FILINGS/COMPLAINTS FILED BY
B. BIEGL

RECEIVE AND REVIEW EMAIL FROM PLAINTIFF'S
COUNSEL ABOUT OUR OUTSTANDING DISCOVER
RESPONSES

Page: 2 JULY ll, 2012
0931879-1 l 157952

0.20

0.40

0.10

0.10

0.10

0.30

1.00

0.30

0.10

0.20

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/07/ 12

06/07/12

06/07/ 1 2

06/07/ 12

06/07/12

06/07/1 2

06/07/ 12

06/08/1 2

06/08/12

06/08/1 2

06/08/ 1 2

CCH

CCH

CCH

CCH

CCH

CCH

DMS

CCH

CCH

CCH

CCH

CALL TO PLAINTIFF TO ADVISE WE WILL PRODUCE
THE DOCUMENTS AND RESPONSES TO PRODUCI`ION
REQUEST; WE WILL LIKELY WITHDRAW BFE AND THUS
HAVE TO REVISE OUR DISCOVERY RESPONSES

RECEIVE AND REVIEW PLAIN'I`IPF'S SUPPLEMENT
DISCOVERY RESPONSES _

DEPOSE BILL BElGL

REVrEw PLArN’rrFF's 26(A)(1) DrscLosUREs,
DOCUMENT PRODUcrroN, INTERROGATORv ANSWERS
AND sUPPLEMENTAL ANSWERS To INTERROGATomEs
AND coMPLArNT 1N PREPARArloN To DEPOSE BILL
BEIGL

DRAFT OUTLINE FOR BEIGL'S DEPOSITION

REVIEW PACER DOCKETS TO IDEN'I`IFY CASES FROM
STATE COURT FILED BY BIEGL THAT WERE REMOVED
TO FEDERAL COURT; REVIEW REMOVAL PAPERS AND
IDENTIFY COMPLAINT FOR USE AT DEPOSITIONS

wmr roM scHoENrG oN THE FAcTs, PLAINTIFF's DEP,
sTRATEGY AND DrscovERY (.3), REVIEW AND
RESPOND ro roMs EMArL erH THE ATrAcHi\/rENT
oN THE EMPLOYEE Lrsr (.1), srUDY THE nMELrNE,
coMPLArN'r AND DRAFT DISCOVERY IN oRDER To
Asslsr rN PREP or roDAY's DEP 01= PLAINTIFF AND ro
suPPLEMENT THE DrscovERY As ro PorENTlAL
wrrNEssEs AND DocuMENT PRoDucrIoNs ro er
AND PRovr~: PLArNrIFF rs coMMn'rrNG A FRAUD (.9),
REVIEW PLArNrrFF's ANSWER ro sUPPL. rNTERRoG's

(-l)

RESPOND TO EMAIL FROM CLlENT WITH SUMMARY OF
PLAINTlFF'S DEPOSITION AND HOW WE WlLL HANDLE
REVISING DISCOVERY ANSWERS

DRAFT EMAIL TO TOM S WITH ROG ANSWERS TO
VERIFY AND ADVICE WE WILL SUPPLEMENT OUR 26A
DISCLOSURES TO ADDR.ESSED EMPLOYEES AND
ACCESS l

CALL WITH TOMS ABOUT THE DISCOVERY AND
ACCESS l REiUEST; DISCUSS

RECEIVE AND REVIEW EMAIL FROM TOM WITH
VERIFICATION AND APPROVE OF lROG ANSWERS AND
CONTACT INFORMATION FOR FORMER EMPLOYEES

Page: 3 J"ULY ll, 2012
0931879-11157952

0.10

0.10

2.50

1.20

1.00

0.30

1.40

0.60

0,10

0.20

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/08/ 12

06/08/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

06/11/12

CCH

DMS

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

CCH

REVISE IROG ANSWERS TO WITHDRAW BFE AFFI.
DEFENSE

REVIEW INFo oN PLArNTrFF's DEP AND IDENTIFY
ISSUES To FoLLow-UP oN wITH DISCOVERY,
INCLUDING MoTIoN To coMPEL As To INFo oN THE
608 # AND THE 0RIGINAL REcoRDING (.2), Asslsr oN A
FEw QUESTroNs RE: ANSWERS ro wRITTEN
DlscovERY (.1)

APPEAR IN COURT FOR STATUS HEARING BEFORE
JUDGE SHADUR; REPORT ON STATUS OF DISCOVERY
AND SET FU'I'URE DATE

RECEIVE AND REVIEW ORDER SETI`ING AUGUST
STATUS DATE

DRAFT EMAIL TO DOCKET TO DIARY STATUS HEARING
DOCUMENTED IN ORDER

RECEIVE AND REVIEW EMAIL FROM PLAINTIFF'S
COUNSEL REQUESTING THE NAME AND ADDRESS FOR
PHONE PROVIDER

DRAFT EMAIL 'I`O CLlENTS TO REPORT ON COURT
STATUS, DEPOSITIONS PLAINTIFF WILL WANT,
CONFIRM THE EMPLO¥EES POSI’I`IONS AND REQUEST
ADDRESS FOR ACCESS ONE

DRAFT SUPPLEMENT RULE 26(A) (l) DISCLOSURES TO
INCLUDE ADDITIONAL WITNESSES AND DOCUMENTS
TO BE USED TO SUPPORT NCI'S DEFENSE OF THE CASE

DRAFT EMAIL TO LIBRARIAN WITH INFORMATION NON
608 NUMBER OBTAINED IN DEPOSITION AND ON
GOOGLE TO ASSIST WITH HEIGHTENED SEARCH

RESPOND TO EMAIL FROM PLAINTIFF'S COUNSEL WITH
ADDRESS AND PHONE FOR ACCESS l TO SUPPLEMENT
OUR DISCOVERY ANSWERS

READ AND EXAM]NE ]NFORMATION OBTAINED l'N
RESPONSE TO THE PHONE RECORD SEARCH AND
ADDRESS RECORD SEARCH FOR 608 PHONE NUMBER

READ AND EXAMINE PRIOR COURT ORDERS TO
DETERMINE DEADLINES AND WHAT SCOPE OF
HEARING WILL COVER TN PREPARATION TO APPEAR

Page: 4 JULY ll, 2012
0931879-11157952

0.10

0.30

1.50

0.10

0.10

0.10

0.20

0.40

0.10

0.10

0.10

0.10

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/11/12

06/11/12

06/13/12

06/15/12

06/15/12

06/15/12

06/15/12

06/15/12

06/19/12

06/19/12

06/19/12

06/19/12

CCH

VB

CCH

CCH

CCH

CCH

CCH

DMS

CCH

CCH

CCH

CCH

DRAFT RULE 37.2 LET'I`ER 'l`O PLAINTIFF' S COUNSEL
FOLLOWING UP ON DISCOVERY ISSUES RAISED AT THE
DEPOSITION AND REQUESTING COMPLlANCE AND
NOTIFYING PLA]NTIFF THAT IF HE DOES NOT COMPLY
AND NCI IS FORCED TO FlLE A MOTION, WE WILL SEEK
FEES AND COSTS

ACCURINT SEARCH FOR C. HEGGIE,

READ AND EXMAINE COPlES OF COMPLAINTS FROM
DALEY CENTER FILED BY/ON BEHALF OF BIEGL; NOTE
SUBJECT MATI`ER OF PLEADINGS 'l`O DETERMINE IF WE
NEED TO UPDATE 26A DISCLOSURES

READ AND STUDY SECOND SET OF DlSCOVERY TO NCI;
DIARY RESPONSE DATE

DRAFT EMAIL TO CLlENTS TO REPORT ON
INVESTIGATION IN'I`O 608 NUMBER, UPDATE EON
CONTACT WITH FORMER EMPLOYEES, FOLLOW UP ON
DEPONENT/RECORDS FROM ACCESS l AND PROVIDE
THE SECOND SET OF DISCOVERY TO BE ANSWERED

RECEIVE REVIEW AND RESPOND TO EMAIL FROM TOM
S

START WORK DRAFTING ANSWERS AND OBIECTIONS
TO SECOND SET OF IROGS TO NCI

STUDY PLAINTIFF'S SECOND SET OF
INTERROGATORIES THAT RELATE TO THE PHONE
SYSTEM, EMPLOYEES, AND CALLING PRACTICES

CALL WITH PLAINTIFF ABOUT RULE 37.2 LETTER, HIS
RESPONSE AND PLAINTIFFS IN THE SUBPOENA TO
ACCESS ONE

READ AND STUDY DOCUMENT SUBPOENA TO ACCESS
ONE

CALL WITH EDELMAN'S' OFFICE ABOUT WHY WE
WANT THE SOCIAL SECURITY NUMBER ADVISE WE
WILL TAKE THE LAST 4 DIGITS

RECEIVE AND REVlEW EMAIL FROM EDELMAN‘S
OFFICE THAT THEY WILL WORK TO OBTAIN
HANDWRITTEN NOTES PLAINTIFF TESTlFIED HE KEPT
ABOUT RECORDINGS/CALLS

Page: 5 JULY 11, 2012
0931879-11157952

0.40

0.20

0.10

0.20

0.30

0.20

0.30

0.20

0.10

0.10

0.10

0.10

NORTHWEST COLLECTORS, INC. Page: 6 JULY ll, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11 157952

06/22/ 12 CCH READ AND STUDY EMAIL FROM INSURED WITH 0.10
UPDATE ON CONTACT/INFO FROM ACCESS ONE AND
EX EMPLOYEE; REVIEW EMAIL/DOX FORWARDED
FROM ACCESS ONE TO NCI

06/22/12 CCH DRAFT EMAIL TO TOM S WITH SUBPOENA TO ACCESS 0.20
ONE THAT EDELMAN SERVED CONFIRM HlS

 

06/22/12 ccH RESPOND To EMAIL FRoM TOM s ABouT_ 0. 10

06/22/12 CCH RECEIVE AND REVIEW EMAIL FROM TOM WITH 0.10
OUTLINES OF NUMBERS IN SUBPOENA AND NCI'S
FINDIN ON SAME'

 
 

06/25/ 12 CCH DRAF'I` LETTER TO FORMER FEMALE EMPLOYEE 0.20
ASHORINA ODISHO ABOUT DISCLOSING HER
INFORMATION IN RESPONSE TO DISCOVERY ANSWERS
AND REQUEST SHE CONTACT US

06/25/ 12 CCH DRAFT LET'I`ER TO FORMER FEMALE EMPLOYEE 0.20
WENDY WERNER ABOUT DISCLOSING HER
INFORMATION IN RESPONSE TO DISCOVERY ANSWERS
AND REQUEST SHE CONTACT US

06/25/ 12 CCH DRAFT MEMO TO FILE WITH ' 0.10

     
 

06/25/12 CCH READ STUDY AND RESPONSE TO PLAINT[FF‘S 0.20
RESPONSE TO OUR RULE 37.2 LET'I`ER ABOUT ISSUE
FROM THE DEPOSITION AND BlEGL'S HANDWR.I'I'I`EN
NOTES ABOUT THE CALLS

06/25/ 12 CCH CONT[NUE WORK DRAFTING ANSWERS TO SECOND 0.20
SET OF DISCOVERY TO PLAINTIFF

06/25/ 12 CCH REVIEW AND STUDY PLAINTIFF‘S DEPOSITION 0.30
TESTIMONY (ONE) TO IDENTIFY DOCUMENTS WE NEED
TO FOLLOW UP ON OBTAINING PER RULES 33, 34 OR 37
AND (TWO) TO IDEN'I`IFY TESTIMONY RELEVANT FOR
SUMMARY JUDGMENT

06/25/12 CCH DRAFT MEMO TO F[LE WITH RELEVANT TES'.[`IMONY 0.20
FROM PLAINTIFF'S DEPOSITION TO USE FOR SUMMARY
JUDGMENT

¢

NORTHWEST COLLECTORS, lNC. Page: 7 J'ULY 11, 2012
Re: BEIGL, BlLL VS NORTHWEST COLLECTORS, INC 0931879-11157952

06/26/12 CCH DRAFT EMAIL TO OPPOSING COUNSEL REQUESTING 0.10
DOCUMENT THAT COMPRISE PDF TO BIEGL 21 THAT
PLAINTIFF TESTIFIED TO IN HIS DEPOSITION PER RULE
37

06/27/ 12 CCH CALL TO PLAINTIFF REGARDING NEED TO GET 0. 10
SUPPLEMENT INFORMATION INTO THE RECORD AND
THAT WE WILL DO IT VIA DEPOSITION OR REQUESTS
TO ADMIT; DISCUSS OUR RESPONSE TO REQUEST TO
PRODUCE NINE

06/27/ 12 CCH DRAFT EMAIL TO CLIENT WITH UPDATE ON 0.30
PLAINTIFF'S COMPLlANCE ON ISSUES FROM
DEPOSITION, STRATEGY TO GET THE I`NFORMATION
INTO THE RECORD, FOLLOW UP ON INFO FROM ACCESS
ONE AND ATTACH DRAFT SECOND SET OF DISCOVERY
ANSWERS FOR THEIR REVIEW/COMPLETION

06/27/12 DMS BEIGL - STUDY PLAINTIFF'S RESPONSE ON DISCOVERY 0.20
ISSUES (.l), DUE TO ANSWERS AND PLAINTIFF'S
DESTRUCTION OF ORIGINAL TAPE, CONSIDER OPTIONS
FOR A POTENTIAL SPOLIATION CLAIM (.l).

06/28/ 12 CCH RECEIVE AND REVIEW EMAIL FROM TOM S WITH IN 0.10
FORMATION RELATED TO SECOND SET OF
INTERROGATORIES

06/28/ 12 CCH REVISE AND SUPPLEMENT DISCOVERY ANSWERS TO 0.20
SECOND INTERROGATORIES WITH INFORMATION
FROM TOM S

06/29/ 12 CCH RECEIVE AND STUDY EMAIL FROM TOM S ABOUT 0.20
ADDITIONAL INFORMAT]ON ON SECOND IROG
ANSWERS AND ABOUT ACCESS ONE

RECORDS/INFORMATION
Total hours this matter: 19.10
Total fees this matter: $4,838.50
DlSBURsEMF.NTS:
06/13/12 VENDOR: HINSHAW & CULBERTSON; INVOICE#: 40.00

931879061312; DATE: 6/13/2012 - DOCKET DEPARTMENT
REQUEST TO OBTAIN COMPLAINTS

06/13/12 INVOlCE#: 93187906132012; DATE: 6/13/2012 - COPY OF l.50
COMPLAIN'I`S 03 L 6251 & 05 L 4109
06/20/ 12 VENDOR: MCCORKLE COURT REPORTERS, INC.; 543.10

INVOICE#: 465156; DATE: 6/20/2012 - COURT REPORTER
PRESEN'I` AT DEPOSITION OF WILLlAM BEIGL ON IUNE 7,
2012

NORTHWEST COLLECTORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

Page: 8 IULY ll, 2012

Total disbursements this matter:

Total fees this bill

Total disbursements this bill
Total this bill

'I`otal prior bills (list follows)

Total bills payable:

$762.69
$342.06
$1,104.75
$8,895.25
$10,000.00

0931879-11 157952

584.60

`

NORTHWEST COLLECI`ORS, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

Page: 9 IULY ll, 2012
0931879-11157952

Recap of Fees: Timekeeper, Hours, Rate

 

 

 

CCH HEGGIE, CORINNE C 16.80 Hours at 250.00 = $4,200.00
VB BROWN, VIRGINIA 0.20 Hours at 95.00 $19.00
DMS SCHULTZ, DAVID M. 2.10 Hours at 295.00 = $619.50
$762.69
Recap of Disbursements:
FEES AND COURT COSTS $40.00
COURT REPORTER $543.10
OTHER COPY CHARGES $1.50
Total disbursements $342.06
Unpaid Prior Invoices *
Number Date Amount Due
11133335 04/12/12 $3,795.00
11142715 05/11/12 $2,231.00
ll 148103 06/07/ 12 $2,869.25
Total $8,895.25
This Invoice $1,104.75
Total Current & Prior Invoices $10,000.00

* If you have any questions concerning prior invoices, please call our Accounts Receivable Department at 312-704-

3443.

 

CLlENT COPY

HINSHAW

 

Payment Address: & C U L B E R T S O N L LP
HINSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS lDENTlFICATION NO. XX-XXXXXXX
* INTERIM *

Invoice No: 11157952 DMS VMD
JULY 1 l, 2012 In Connection with our Matter: 931879
The Trave]ers Companies, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Shawn A. Harn's Insured: Northwest Collectors, Inc.
385 Washington Street ' Claimant: Beigl, Bill
MC 9275 NB03F Your File Number: T1201860
St. Paul, MN 55109 Other ID: 1080415

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv-00150
Deductible Invoice Sent to: Court Name: United States District Court
Northwest Collectors, lnc.

For professional services rendered through JUNE 29, 2012 .......... $4,838.50
For disbursements paid through JUNE 20, 2012 ................... $584.60
Total amount due this invoice ................................. $5,423.10
Total amount billed to Insured this invoice ....................... ($1,104.75)
Your portion of this invoice ................................... $4,318.35

If you have any questions concerning this invoice please contact DAVID M. SCHULTZ, CHICAGO office at (312)
704-3000.

Hinshaw & Culbertson LLP is an illinois registered limited liability partnership that has elected to be governed by the Illinois Unit`onn Farmership Act (1997)

RETURN WITH PAYMENT
JULY ll, 2012
Invoice: l 1 157952
Payor: 7791
Matter: 931879

Regarding:
Fees: $4,075.81
Disbursements: $242.54
Total this invoice: $4,318.35
PAYMENT DUE ON THIS INVOICE .......................... $4,318.35

To Wire Fayment:The PrivateBank and Tmst Company, Chicago, [L ABA# 071006486 Aect# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/01/12 CCH

06/01/12 CCH

06/01/12 CCH

06/04/12 CCH

06/04/1 2 CCH

06/05/12 CCH

06/06/12 CCH

06/06/ 12 CCH

06/07/12 CCH

SEercEs:

0.20 @

DRAFT EMAlL TO MR. CRAWFORD WITH DRAFT IROG
AND RTPS, EXPLAIN WE HAVE INCLUDED
CHANGES/COMMENTS FROM MR. SHOENIG AND WE
PROVIDE THEM TO HIM FOR REVIEW AS WE DlSCUSSED
HlM AS THE SIGNATORY TO THE DISCOVERY

0.40 @
READ AND EXAMINE DRAFT DISCOVERY RESPONSES
AND EMAILS FRoM/wlTH Ncl 0N DrscovERY To
Assrsr wrrH ANSWERmG DISCOVERY HERE AND
sPEchrcALLY BFE DEFENSE/DocUMENrs

0.10 @
RECEIVE EMAIL FRoM MR. sHoEING THAT HE DoES
NOT_

0.10 @
RECEIVE AND REVIEW EMAlL FROM PLArNTIFF's
coUNsEL REGARDING THE BALANCE or DEFENDANT's
DISCOVERY

0.10 @

DRAFT RESPONSE TO EMAIL FROM PLAINTIFF'S
COUNSEL REGARDING DISCOVERY RESPONSES AND
WAI'I`ING ON CLIENT VERlFICATION

0.30 @

REVlEW AND STUDY FEDERAL RULES OF EVIDENCE
APPLICABLE TO RECORDINGS TO ASSIST WITH

 

DEPOSE BEIGL

1.00 @
LISTEN To RECORDlNGs PLAINTIFF PRODucED IN
vERY T PREPARE To

 

0.30 @
cALL wITH ToM s ABOUT PLAINTIFF's DEPoslrroN
AND DrscovERY PosTURE

0.10 @

RECEIVE AN REVle EMAIL FROM TOM S ABOUT THE
RECORDING AND HlS THOUGHTS ON SAME AFTER A
SECOND LISTEN

Page: 2 IULY 11, 2012

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

0931879-11157952

50.00

100.00

25 .00

25.00

25.00

75.00

250.00

75.00

25.00

THE TRAVELERS COMPANIES, INC. Page: 3 IULY 11, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11157952

06/07/12 CCH 0.20 @ 250.00 50.00

DRAFT EMAIL TO DOCKET TO IDENT[FY CASE NAME,
NUMBER AND WHAT DOCUMENTS WE WANT PULLED
FROM COURT FlLE FOR FILINGS/COMPLAINTS FILED BY
B. B[EGL

06/07/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW EMAIL FROM PLAINTIFF'S
COUNSEL ABOUT OUR OUTSTANDING DISCOVER
RESPONSES

06/07/12 CCH 0.10 @ 250.00 25.00

CALL TO PLAIN'I`IFF TO ADVISE WE WILL PRODUCE
THE DOCUMENTS AND RESPONSES TO PRODUCTION
REQUEST; WE WILL LlKELY WITHDRAW BFE AND THUS
HAVE TO REVISE OUR DISCOVERY RESPONSES

06/07/12 CCH 0.10 @ 250.00 25.00
RECEIVE AND REVIEW PLAINTIFF'S SUPPLEMENT
DISCOVERY RESPONSES

06/07/12 CCH 2.50 @ 250.00 625.00
DEPOSE BILL BEIGL

06/07/12 CCH 1.20 @ 250.00 300.00

REVIEW PLAINTIFF's 26(A)(1) DISCLOSURES,
DOCUMENT PRoDUcrIoN, INTERROGATORY ANSWERS
AND sUPPLEMENTAL ANSWERS To INTERROGATORIES
AND coMPLAINT IN PREPARATION To DEPOSE BILL
BEIGL

06/07/12 CCH 1.00 @ 250.00 250.00
DRAFT OU'I`LINE FOR BEIGL'S DEPOSITION

06/07/12 CCH 0.30 @ 250.00 75.00

REVIEW PACER DOCKETS TO IDENTIFY CASES FROM
STATE COURT FILED BY BIEGL THAT WERE REMOVED
TO FEDERAL COURT; REVIEW REMOVAL PAPERS AND
IDENTIFY COMPLAI`NT FOR USE AT DEPOSITIONS

06/07/12 DMS l.40 @ 295.00 413.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/08/12 CCH

06/08/12 CCH

06/08/12 CCH

06/08/12 CCH

06/08/12 CCH

06/08/ 12 DMS

06/11/12 CCH

WITH TOM SCHOENIG ON THE FACTS, PLAINTI_FFS DEP,
STRA'I`EGY AND DISCOVERY (.3), REVIEW AND
RESPOND TO TOM'S EMAIL WITH THE AT'I`ACHMENT
ON THE EMPLOYEE LIST (.l), STUDY THE TIMELINE,
COMPLA[NT AND DRAFT DISCOVERY IN ORDER TO
ASSIST IN PREP OF TODAY'S DEP OF PLAINTIFF AND TO
SUPPLEMENT THE DISCOVERY AS TO POTENTlAL
WITNESSES AND DOCUMENT PRODUCTIONS TO TRY
AND PROVE PLAINT[FF IS COMMTI'I`ING A FRAUD (.9),
REVIEW PLAINTIFF'S ANSWER TO SUPPL. IN'I`ERROG'S

(-l)

0.60 @

RESPOND TO EMAIL FROM CLIENT WITH SUMMARY OF
PLAINTI'FF'S DEPOSITION AND HOW WE WILL HANDLE
REVISING DISCOVERY ANSWERS

0.10 @

DRAFT EMAIL TO 'I`OM S WITH IROG ANSWERS TO
VERIFY AND ADVICE WE WILL SUPPLEMENT OUR 26A
DISCLOSURES TO ADDRESSED EMPLOYEES AND
ACCESS l

0.20 @
CALL wlTH TOMS ABouT THE DISCOVERY AND

ACCESS 1 REHUEST; Discuss
0.10 @

RECEIVE AND REVIEW EMAIL FROM TOM WITH
VERIFICATION AND APPROVE OF IROG ANSWERS AND
CONTACT INFORMATION FOR FORMER EMPLOYEES

0.10 @
REVISE IROG ANSWERS To wrrHDRAw BFE AFFl.
DEFENSE

0.30 @

REVIEW rNFo oN PLAINTIFF's DEP AND IDENT1FY
rssuEs To FoLLow_uP oN wITH DrscovERY,
INCLUDING MoTIoN ro coMPEL As To INFo oN THE
608 # AND THE oRIGINAL RECoRDrNG (.2), Assrsr oN A
FEw QUEsTIoNs RE: ANSWERS ro meTEN
DISCOVERY (.1)

1.50 @
APPEAR IN COURT 1=0R s'rATus HEARING BEFORE
JUDGE sHADUR; REPORT oN sTATUs oF DrscovERY
AND sET FUTURE DATE

Page: 4 JULY ll, 2012

250.00

250.00

250.00

250.00

250.00

295.00

250.00

0931879-11157952

150.00

25.00

50.00

25 .00

25.00

88.50

375.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

06/11/12 CCH

0.10 @
RECEIVE AND REVIEW 0RDER sETrrNG AuGUsT
STATUS DATE

0.10 @
DRAFT EMAIL To DOCKET To DIARY sTATUs HEARING
DOCUMENTED 1N 0RDER

0.10 @
RECEIVE AND REVIEW EMAIL FROM PLAINTIFF's

COUNSEL REQUESTING THE NAl\'fE AND ADDRESS FOR
PHONE PROVIDER

0.20 @

DRAFT EMAIL TO CLlENTS TO REPORT ON COURT
STATUS, DEPOSITIONS PLAINTIFF WILL WANT,
CONFIRM THE EMPLOYEES POSITIONS AND REQUEST
ADDRESS FOR ACCESS ONE

0.40 @
DRAFT sUPPLEMENT RULE 26(A) (1) DISCLOSURES To
lNcLuDE ADDrTroNAL wITN EssEs AND DocuMENTs
ro BE usED To suPPQRr Ncr's DEFENSE 01= THE cAsE

0.10 @
DRAFT EMAIL To LIBRARIAN wITH INFORMATION NoN
608 NUMBER oBTAINED rN DEPOSITION AND oN
GooGLE T0 Assrsr wer HErGHrENED sEARCH

0.10 @
REsPoND To EMAiL FRoM PLAINTIFF's coUNsEL wrrH

ADDRESS AND PHONE FOR ACCESS 1 TO SUPPLEMENT
OUR DlSCOVERY ANSWERS

0.10 @
READ AND EXAMINE rNFoRMATloN oBrAINED rN
REsPoNsE ro THE PHoNE RECORD sEARcH AND
ADDRESS RECORD sEARcH FoR 608 PHONE NUMBER

0.10 @
READ AND EXAMINE PRIOR coURr 0RDERS To
DETERMINE DEADLINES AND wHAT scoPE or
HEARING erL covER 1N PREPARATION To APPEAR

0.40 @

Page: 5 JULY 11, 2012

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

0931879~11157952

25.00

25.00

25.00

50.00

100.00

25 .00

25.00

25 .00

25.00

100.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, TNC

06/11/12 VB

06/13/12 CCH

06/15/12 CCH

06/15/12 CCH

06/15/12 CCH

06/15/12 CCH

06/15/12 DMS

06/19/12 CCH

06/19/12 CCH

DRAFT RULE 37.2 LETTER TO PLAINTIFF' S COUNSEL
FOLLOWING UP ON DISCOVERY ISSUES RAISED AT THE
DEPOSITION AND REQUESTING COMPLlANCE AND
NOTIFYING PLA[NTIFF THAT IF HE DOES NOT COMPLY
AND NCI IS FORCED TO FlLE A MO'I`ION, WE WILL SEEK
FEES AND COSTS

0.20 @
ACCURINT sr-;ARCH FoR c. HEGGIE.

0.10 @
READ AND EXMAINE coPrEs oF coMPLArNTs FROM
DALEY cENTER FILED BY/oN BEHALF 0F BIEGL; NOTE
sUBJEcT MATTER or PLEADINGS To DETERMINE 11= we
NEED To UPDATE 26A DISCLOSURES

0.20 @

READ AND STUDY SECOND SET OF DISCOVERY TO NCI;
DIARY RESPONSE DATE

0.30 @

DRAFT EMAIL TO CLlENTS TO REPORT ON
INVESTlGATION [NTO 608 NUMBER, UPDATE EON
CONTACT WITH FORMER EMPLOYEES, FOLLOW UP ON
DEPONENT/RECORDS FROM ACCESS 1 AND PROVIDE
THE SECOND SET OF DISCOVERY TO BE ANSWERED

0.20 @

RECEIVE REVIEW AND RESPOND TO EMAIL FROM 'I`OM
S ABOUT

0.30 @

START WORK DRAFI`ING ANSWERS AND OBJECTIONS
TO SECOND SET OF IROGS TO NCI

0.20 @

STUDY PLAIN'I`IFF‘S SECOND SET OF
INTERROGATORIES THAT RELATE TO THE PHONE
SYSTEM, EMPLOYEES, AND CALLING PRACTICES

0.10 @

CALL WITH PLAINTIFF ABOUT RULE 37.2 LET'I`ER, HIS
RESPONSE AND PLAINTIFFS TN THE SUBPOENA TO
ACCESS ONE

0.10 @
READ AND srUDY DocuMENr sUBPQENA ro ACCESS
oNE

Page: 6 JULY ll, 2012
0931879-11157952

95.00

250.00

250.00

250.00

250.00

250.00

295.00

250.00

250.00

19.00

25.00

50.00

75.00

50.00

75.00

59.00

25.00

25.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/19/12 CCH 0.10 @

CALL WITH EDELMAN'S' OFFICE ABOUT WHY WE WANT
THE SOClAL SECURITY NUMBER ADVISE WE W1LL
TAKE THE LAST 4 DIGITS

06/19/12 CCH 0.10 @

RECEIVE AND REVIEW EMAIL FROM EDELMAN'S
OFFICE THAT THEY WILL WORK TO OBTAIN
HANDWRIT'I`EN NOTES PLA[NTIFF TESTIFIED HE KEPT
ABOUT RECORDINGS/CALLS

06/22/12 CCH 0.10 @

READ AND STUDY EMAIL FROM INSURED WITH
UPDATE ON CONTACT/INFO FROM ACCESS ONE AND
EX EMPLOYEE; REVIEW EMAIL/DOX FORWARDED
FROM ACCESS ONE TO NCI

06/22/12 CCH 0.20 @

DRAFT EMAIL TO TOM S WITH SUBPOENA TO ACCESS
ONE THAT EDELMAN SERVED, CONFIRM HIS
THOUGH'I`S ON

 

06/22/12 CCH 0.10 @

RESPOND TO EMAIL FROM TOM S ABOUT -

06/22/12 CCH 0.10 @

RECEIVE AND REVIEW EMAIL FROM TOM WlTH
OUTLINES OF NUMBERS IN SUBPOENA AND NCI'S
FINDINGS ON SAME;

 

06/25/12 CCH ` 0.20 @

DRAFT LET'I`ER TO FORMER FEMALE EMPLOYEE
ASHORINA ODISHO ABOUT DISCLOSING HER
INFORMATION IN RESPONSE TO DISCOVERY ANSWERS
AND REQUEST SH_E CONTACT US

06/25/12 ccH 0.20 @

DRAFT LET'I`ER TO FORMER FEMALE EMPLOYEE
WENDY WERNER ABOUT DISCLOSING HER
INFORMATION IN RESPONSE TO DISCOVERY ANSWERS
AND REQUEST SHE CONTACT US

06/25/ 12 CCH 0.10 @

Page: 7 JULY 11, 2012
0931879-11157952

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

25.00

25.00

25.00

50.00

25 .00

25.00

50.00

50.00

25.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

06/25/12 CCH

06/25/ 12 CCH

06/25/ 12 CCH

06/25/12 CCH

06/26/12 CCH

06/27/ 12 CCH

06/27/12 CCH

06/27/12 DMS

DRAFT MEMO TO FILE Wl

0.20 @

READ STUDY AND RESPONSE TO PLAINTIFF'S
RESPONSE TO OUR RULE 37.2 LETTER ABOUT ISSUE
FROM THE DEPOSITION AND BlEGL'S HANDWRITTEN
NOTES ABOUT THE CALLS

0.20 @

CONTINUE WORK DRAFT[NG ANSWERS TO SECOND
SET OF DISCOVERY TO PLAINTIFF

0.30 @

REVIEW AND STUDY PLAINTIFF'S DEPOSITION
TESTIMONY (ONE) TO IDENTIFY DOCUMENTS WE NEED
TO FOLLOW UP ON OBTAINING PER RULES 33, 34 OR 37
AND ('[`WO) TO IDENTIFY TESTIMONY RELEVANT FOR
SUMMARY JUDGMENT

0.20 @

DRAFT MEMO TO FILE WITH RELEVANT TESTIMONY
FROM PLAINTIFF'S DEPOSITION TO USE FOR SUMMARY
JUDGMENT

0.10 @

DRAF'I` EMAIL TO OPPOSING COUNSEL REQUESTING
DOCUMENT THAT COMPRISE PDF TO BIEGL 21 THAT
PLAINTIFF TESTIFIED TO IN HIS DEPOSITION PER RULE
37

0.10 @
cALL ro PLAINTIFF REGARDING NEED To GET
suPPLEMEN'r INFORMArroN lNro THE RECORD AND
THAT we wILL 130 rr vrA DEPosmoN 08 REQUESTS
ro ADMrr; Drscuss ouR REsPoNsE ro REQUEST To
PRoDUcE NINE

0.30 @

DRAFT EMAIL TO CLIENT WITH UPDATE ON
PLAINTIFF'S COMPLlANCE ON ISSUES FROM
DEPOSITION, STRA'I`EGY TO GET THE INFORMATION
INTO THE RECORD, FOLLOW UP ON [NFO FROM ACCESS
ONE AND ATTACH DRAFT SECOND SET OF DISCOVERY
ANSWERS FOR TI~[EIR REVIEW/COMPLETION

0.20 @

Page: 8 IULY11,2012

250.00

250.00

250.00

250.00

250.00

250.00

250.00

295.00

0931879-11157952

50.00

50.00

75.00

50.00

25.00

25.00

75 .00

59.00

THE TRAVELERS COMPANIES, INC. Page: 9 JULY ll, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11 157952

BEIGL - STUDY PLAINTIFF'S RESPONSE ON DISCOVERY
ISSUES (.l), DUE TO ANSWERS AND PLAINTIFF'S
DESTRUCTION OF ORIGlNAL TAPE, CONSIDER OPTIONS
FOR A POTENTIAL SPOLIATION CLAlM (. 1).

06/28/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW EMAIL FROM TOM S WITH IN
FORMATION RELATED TO SECOND SET OF
INTERROGATORIES

06/28/12 CCH 0.20 @ 250.00 50.00

REVISE AND SUPPLEMENT DISCOVERY ANSWERS TO
SECOND INTERROGATORIES WITH INFORMATION
FROM TOM S

06/29/12 CCH 0.20 @ 250.00 50.00

RECEIVE AND STUDY EMAIL FROM TOM S ABOUT
ADDlTIONAL INFORMATION ON SECOND IROG
ANSWERS AND ABOUT ACCESS ONE
RECORDS/INPORMAT[ON

Total fees this bill $4,075.81
Total disbursements this bill $242.54
Total this bill $4,318.35

THE TRAVELERS COMPANIES, INC. Page: 10 JULY ll, 2012

 

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11157952
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C PARTNER 16.80 Hours at 250.00 = $4,200.00
VB BROWN, VIRGINIA OTHER 0.20 Hours at 95.00 = $l9.00
DMS SCHULTZ, DAVID M. PARTNER 2.10 Hours at 295.00 = $619.50
$4,075.81

Recap of Disbursements:

Total disbursements $242.54

Matter Name:

Invoice Number:
Invoice Date:

Fee Amount:
Expense Amount:

BEIGL, BILL VS
NORTHWEST
COLLECTORS, INC
l l 157952

JULY 11, 2012
$4,838.50

$584.60

Insured:

Claimant:

Your File Number:
Other ID:
Represent:

Court Ref Number:
Court Name:

ATTACHMENT

Northwest Collectors, Inc.
Beigl, Bill

T1201860

1080415

Northwest Collectors, Inc.
12-cv-00150

United States District Court

-0HECK ONE:
Firrn Charge

Cllent Charge

 

 

Description a Heason far Expense:

( gaf §§ M?ém' Q_?Léb?$`z "QSz.z//'o£
. ` ./

 

 

 

~ e.§“§i,[£-» Amount z z/~$'O

Matter Name

' Aooounttng Approvall

Dlsbursament Code

GL‘Code lnc|udlng office & dept:

 

 

 

Prlnt Approver's Name a / e-

APPde
Dlsbursemenr Codes: 041 Pubneau¢n costs oea monte Fee 206 Pwrwopy Expense _
020 Trave| - 060 tnveatlgator 070 Certltled 00le 212 Outelde Legel Servloe
038 Depoa|tlons 061 Shed# Fee 080 Msala 21511110 Charge
040 Flhq Fees 062 Witnesa Fee 140 Dotlvery Charge 730 Court Raporter
042 Reoordlng Fees 064 Sr.bpoenu 160 lnoorporatlon Expense 751 Modteal Connuttatton

 

 

 

TAPE RECEIPTS BELOW

""_"_|__i"T-l__n_" '_T"' "_T_ ' "` 1 "

"l_?l`_H_rr_r'T!_rrr"r-.rr“l_"' ~'

§ '-\ HINSHAW & CULBERTSON LLP
` CLIENT CHARGEABLE
VENDOR CHECK REQUEST FORM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. REQUESTOR INFORMATION
Requestor’s Name: Raya Leahy Today’s Date 6/25/ 12
Offlce: Chic§gg Phone Ext: 3021 Return Check to Preparer?
Prtnt At:torney’s Name: Corinne C. Heggie [:I YES, Date Needed:
Attorney’s §gnatnre: NO, Mail to Payee
PAYMENT lNFORMATION
Payee Name: McCorkle Court Reporters, Inc. \ N |I“ |"| ions,
l’ayee Address: 200 No. LaSalle St. ALL vide
mmc their111111111111\\15\!2111“15\7111111\11\1 \)RM
Chicago, lL 60601 befor
Tax ID #Z 36~2799976 (for new vendon)
B]LLING INFORMATION

 

Client #: ` Client Name:

 

Matter #: 931879 Matter Name: Beigl v. Northwest Collectors
Cost` `Code: 730 Court Reporter ~ _

1".' ~~~~~~~

Date,ofService 6/7/12 Dollar Amount:_t" $,543,-10 ,'

 

Detailed Description of Service (will appear on client invoice): court reporter present at deposition of Wi]liam
Beigl on June 7, 2012

 

lAuthor'lzation for Client Disbursement over $500. (mandatory if over $500):Ms. ’Heggie directs that court
reporter be paid at this time.

 

APPROVAL ]NFORMATION

 

'I'he-approver should be a person who is involved with the matter and is knowledgeable of the expense being paid.
,PR]NT APPROVERS NAME HERE:

Up to $100; Secretary or Paralegal:
v810`0¥$`1,_0'00";`"1`1\'tt:oriiey or O`fti`ce"Cdordinator/Man' _er
Over $1,000; Partner or Execntive Managi_ng Dtrector:

'a`

 

     

~ - J , __
JMc/lzr

 

 

 

 

 

 

 

SPECIAL DN'STRU(`;TIO ACCOUN'I`ING: ACCOUN‘I`ING USE ONLY:
maxim screws vendor#= 033 'Li§
Scheduled Pay Date:
JUN 2 5 2012 Accormting Approval: !\ l*'|
. ‘ t l

 

 

rF_

il l lf.illll\|ll

‘I

'.Fl

 

 

McCorkle Court Reporters, Inc.

200 Nort.h La$al|e Street

Sulte 2900

aritzgo, It 60501

Phone:800-622-6755 Fax:312-263-7494

Corlnne Heggle

H|nshaw & Cu|berwon, LLP
222 North La_Sa|Ie Street
Sutte 300

Suite 500- Ma||room

INVOICE

4 ._: - Jopr. .~
465156 6/20/2012 43854

6/7/2012 12 cv 00150

Beigl, Bill vs. Northwest Collections

 

 

 

ChicBgO, IL 60601

 

 

 

 

  

 

 

 

 

 

` rex rp; 362799976

PIeas¢ dctach bottomvpartion and return thh payment

Corlnne Heggie

H|nshaw & Culbertson, U.P
222 North LaSa||e Street
_S_u_rt_e _300 _

Sulte 500 Mal|room
Chlcago, IL 60601

4 Remlt To: MoCor|de Court Repolters, Inc.
200 North LaSalle Street
Suite 2900 _
Chleago, IL 60_601

Job No. : 438254 BU ID :MCC-MAIN `

ease No.` : 12 cv 00150
Case Name : Beigl, Bill vs. Nortltwest€ollections

Invoice'r§lo`. `: 4651`5"6 " ` tnvdtce base :6`/20/'20`12'

TotalDue : $ 543.10

 

 

 

 

 

EAIMENI_IEIH£BEEE_GAEQ
§anihs)tderis_ttame:

Q.cd_ttumt&r.

M Phsuet:
Ellltng.Addr;§s=

 

 

Cardholder's Slgnature:

 

 

 

lT¢

' j

ll Fl\ Ill!l'l ll

 

CLIENT COPY

HINSHAW

 

Payment Address: & C U L B E R T S 0 N L L P
HINSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 lRS H)EN'I'IFICATION NO. XX-XXXXXXX
* lNTERIM *

lnvoice No: 11165300 DMS VMD
AUGUST 7, 2012 In Connection with our Matter: 931879
The Travelers Companies, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Shawn A. Harris Insured: Northwest Collectors, Inc.
385 Washington Street Claimant: Beigl, Bill
MC 9275 NB03F Your File Number: T1201860
St. Paul, MN 55109 Other ID: 1080415

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv-00150
Deductible Invoice Sent to: Court Name: United States District Court
Northwest Collectors, Inc.

For professional services rendered through JULY 31, 2012 .......... $1,693.00
For disbursements paid through JUNE 30, 2012 ................... $194.15
Total amount due this invoice ................................. $1,887.15
Total amount billed to Insured this invoice ....................... ($0.00)
Your portion of this invoice ................................... $l ,887.1 5

lf you have any questions concerning this invoice please contact DAVID M. SCHULTZ, CHICAGO office at (312)
704-3000.
Hinshaw & Culbertson LLP is an [l|inois registered limiwd liability partnership that has elected m be governed by the lllinois Uniforrn Partnership Act (1997)

RETURN WITH PAYMENT
AUGUST 7, 2012
Invoice: 11165300
Payor: 7791
Matter: 931879

Regarding:

Fees: $1,693.00

Disbursements: $l94.15

Total this invoice: $1,887.15
PAYMENT DUE ON THIS INVOICE .......................... $1,887.15
BALANCE DUE PRIOR INVOICES ........................... $4,318.35

(See last page for details)

To Wire Payment:The PrivateBank and Trust Company, Chicago, IL ABA# 071006486 Acct# 2195102 - PLEASE
REFERENCE lNVOlCE NUMBER

THE TRAVELERS COMPANIES, INC. Page: 2 AUGUST 7, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11165300

SEerCF.s:

07/02/12 CCH 0.10 @ 250.00 25.00

CALL TO ACCESS ONE ABOUT RECORDS/I. GREENE
ADVISES THEY PLAN TO RESPOND TO SUBPOENA

07/10/12 CCH 0.20 @ 250.00 50.00

READ AND STUDY FEDERAL RULES OF EVIDENCE AND
PROCEDURE TO WORK ON DETERMINING POTENTIAL
STRATEGY TO DEAL WITH PLAINTIFF'S TAPING OVER
OF THE ORIGINAL RECORDINGS

07/10/12 DMS 0.40 @ 295.00 118.00
fN PREPARATION OF OUR DISCOVERY
DISPUTE/REQUESTS, REVIEW OUR OPTIONS OF EITHER
BARRING THE TAPE AS NOT THE ORIGINAL OR

07/11/12 CCH 0.10 @ 250.00 25.00

CALL TO PLAINTIFF'S COUNSEL ABOUT EQUlPMENT
AND INSPECTING SAME AND ACCESS ONE SUBPOENA
RETURN

07/11/12 CCH 0.20 @ 250.00 50.00

DRAFT EMAIL TO INSURED AND INSURER WlTH FINAL
IROG (SECOND SET) TO VERlFY, UPDATE ON ACCESS
ONE SUBPOENA RETURN AND REQUEST FOR
INFORMATION ON POLICIES (WR]TTEN OR OTHERWISE)
GIVEN TO COLLECTORS ON CALL TRAINING

07/11/12 CCH 0.10 @ 250.00 25.00

REREAD TESTIMONY BY BlEGL FROM DEPOSITION TO
REVIEW HIS EXPLANATION OF THE RECORDINGS AND
HOW HE MADE THEM IN PREPARATION TO MAKE RULE
37 REQUEST FOR INSPEC'I`ION OF EQUlPMENT

07/11/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW TOM S' VER.IFICATION FOR
SECOND SET OF INTERROGATORY ANSWERS

07/12/12 CCH 0.20 @ 250.00 50.00

DRAFT EMAIL TO PLAINTIFF'S COUNSEL ABOUT
REQUEST TO EXAMINE THE EQUlPMENT USED TO
RECORD AND BASIS FOR SAME

07/12/12 CCH 0.10 @ 250.00 25.00

RESPOND TO EMAIL FORM TOM S WITH VERIFICAT!ON
AND ASK FOR INFORMATION ON THE CALL TRAINING

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

07/13/12 CCH

07/1 6/ 12 CCH

07/16/12 CCH

07/16/12 CCH

07/16/ 12 CCH

07/16/ 12 CCH

07/16/12 CCH

07/17/12 CCH

07/18/12 CCH

07/23/ 12 CCH

07/25/ 12 CCH

0.20 @

READ AND STUDY NOTICE FOR TOM S DEPOSITION
AND EMPLOYEES

0.10 @
RECEIVE AND REVIEW EMAIL FRoM roM s ABOUT
DISCOVERY MATTERS

0.30 @

cALL wITH roM s ABOUT DEPoslrloN NorlcEs,
ACCESS oNE sUBPoENA AND GENERALLY sTATUs 01=
cAsE _

0.20 @

DRAFT EMAIL TO CLlENTS WITH DEPOSITION
SUBPOENAS AND HOW WE WILL RESPOND AND
PROVIDE GENERAL UPDATE ON STATUS OF THE CASE

0.20 @

DRAFT MEMo sUMMAerrNG_
_

0.30 @

DRAFT EMAIL TO PLAINTIFF'S COUNSEL TO CONFIRM
REQUEST TO INSPECT AND REOPEN PLAINTIFF'S
DEPOSITION ON ORIG]NAL TAPE, ADVISE WE WILL
SUPPLEMENT DISCOVERY ON RECORDING AND
RESPOND TO DEPOSITION NOTICES AND PROPOSE WAY
TO HANDLE SAME

0.10 @

RETURN CALL FROM OPPOSING COUNSEL ABOUT
TESTIMONY ON ORIGINAL RECORDINGS

0.10 @
EMAILS wrrH INsuRED ABOUT DEPosmoNs

0.10 @

DRAFT EMAIL TO OPPOSING COUNSEL ABOUT THE NCI
DEPOSITIONS

0.20 @

EMAILS WITH OPPOSING COUNSEL TO FOLLOW UP ON
ACCESS ONE'S RETURN ON THEIR SUBPOENA FOR
DOCUMENTS AND ACTION TO TAKE FOR COMPLlANCE

0.20 @

Page: 3 AUGUST 7, 2012
0931879-11165300

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

50.00

25.00

75.00

50.00

50.00

75.00

25.00

25.00

25.00

50.00

50.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

07/25/12 CCH

07/26/ 12 CCH

07/26/12 CCH

07/27/12 CCH

07/30/12 CCH

07/30/12 CCH

07/30/12 CCH

07/30/12 CCH

07/30/12 CCH

SEVERAL EMAILS (4) WITH OPPOSING COUNSEL
REGARDING ORAL DISCOVERY AND EQUlPMENT
INSPECTION

0.20 @

READ AND STUDY ALL DISCOVERY PROPOUNDED TO
NCI TO IDENTIFY REQUESTS THAT SPEAK TO CALL
TRAINING PROCEDURES; CONFIRM NO
INTERROGATORY ON THAT POINT AND REQUEST TO
PRODUCE HAS BEEN ANSWERED IN ORDER TO
RESPOND TO PLAINTIFF'S RULE 37 REQUEST RELATED
TO SAME

0.10 @

DRAF'I` EMAIL TO DOCKET TO DIARY HEAR.ING DATE
ON PLAINTIFF'S MOTION FOR RULE TO SHOW CAUSE
AGAINST ACCESS ONE

0.20 @

READ AND STUDY MOTION FOR RULE AND EMAILS
BETWEEN EDELMAN AND ACCESS ONE FILED AS AN
EXHIBIT IN SUPPORT THEREOF IN PREPARATION TO
ATTEND HEAR]`NG

0.10 @
RECEIVE AND READ EMAIL FROM chENT ABOUT

0.10 @
RESPOND To EMAIL FRoM PLAINTIFF's coUNsEL Bour
THE ACCESS oNE sUBPoENA

1.50 @

AFPEAR BEFORE JUDGE SHADUR ON PLAINTIFF'S
MOTION FOR RULE TO SHOW CAUSE AGAINST ACCESS
ONE; MOTIONED CONTINUED

0.20 @

RECEIVE AND REVIEW ACCESS ONE RESPONSE TO
SUBPOENA; NOTE NUMBER OF CALLS

0.10 @

RECEIVE AND REVIEW E-MAlL FROM PLAINTIFF'S
COUNSEL WITH E-MAILS HE RECEIVED FROM ACCESS
ONE ON SUBPOENA COMPLlANCE

0.10 @

RECEIVE AND REVIEW ORDER CONTINUING MOTION
FOR RULE TO SHOW CAUSE

Page: 4 AUGUST 7, 2012
0931879-11165300

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

250.00

50.00

25.00

50.00

25.00

25.00

375.00

50.00

25.00

25.00

THE TRAVELERS COMPAN]ES, INC.

Re: BEIGL, BlLL VS NORTHWEST COLLECTORS, INC

07/31/12 CCH

0.30 @

DRAF'I` EMAIL TO CLIENTS WlTH ACCESS ONE
DOCUMENT, COURT P[EARING ON ACCESS ONE

DOCUMENTS, DATE FOR DEPOSITIONS AND EFFORTS
TO GET DISCOVERY COMPLlANCE WITH PLAIN'I`IFF

07/31/12 CCH

0.10 @

RECEIVE AND REVIEW EMAIL FROM OPPOSING
COUNSEL REGARDING BlEGL'S AFFIDAVIT

07/31/12 CCH

0.10 @

RECEIVE AND REVIEW EMAIL FROM T. SCHONIG
REGARDING DEPOSITION PREPARATION

07/31/12 CCH

0.10 @

READ AND STUDY RULE 37.1 LETTER SENT TO

EDELMAN REGARDING EQUlPMENT FOR RECORDINGS

IN PREPARATION TO INSPEC'I` EQUlPMENT AT

EDELMAN'S OFFICE

Total fees this bill

Total disbursements this bill
Total this bill

Total prior bills (list follows)

Total bills payable:

Page: 5 AUGUST 7, 2012
0931879-]1165300

250.00 75.00

250.00 25 .00

250.00 25.00

250.00 25.00

$1,693.00

$194.15
$1,887.15
$4,318.35
$6,205.50

THE TRAVELERS COMPANIES, INC. Page: 6 AUGUST 7, 2012

 

Re: BEIGL, BlLL VS NORTHWEST COLLECTORS, INC 0931879-1 1165300
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C PARTNER 6.30 Hours at 250.00 = $1,575.00
DMS SCHULTZ, DAVlD M. PARTNER 0.40 Hours at 295.00 = 8118.00
$1,693.00

Recap of Disbursements:

Total disbursements $194.15

 

Unpaid Prior Invoices *

Number Date Amount Due
11157952 07/11/12 $4,318.35
Total $4,3 l 8 .35
This lnvoice $1,887.15
Total Current & Prior Invoices $6,205.50

* It` you have any questions concerning prior invoices, please call our Accounts Receivable Department at 3431.

 

CLIENT COPY

HINSHAW

 

PayrnentAddress: & C U L B E R T S O N L L P
H]NSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS IDENT[FICATION NO. XX-XXXXXXX
* INTERlM *

Invoice No: 11177411 DMS VMD
SEPTEMBER 17, 2012 ln Connection with our Matter: 931879
The Travelers Companies, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Shawn A. Harris Insured: Northwest Collectors, Inc.
385 Washington Street Claimant: Beigl, Bill
MC 9275 NB03F Your File Number: T1201860
St. Paul, MN 55109 Other [D: 1080415

Represent: Northwest Collectors, Inc.
Court RefNumber: 12-cv-00150

Deductible Invoice Sent to: Court Name: United States District Court
Northwest Collectors, Inc.

For professional services rendered through AUGUST 31, 2012 ....... $5,026.50

For disbursements paid through JULY 30, 2012 ................... $7.00

Total amount due this invoice ................................. $5,033.50

Total amount billed to Insured this invoice ....................... ($0.00)

Your portion of this invoice ................................... $5,033.50

If you have any questions concerning this invoice please contact DAVlD M. SCHULTZ, CHICAGO office at (312)
704-3000.

Hinshaw & Culbertson LLP is an lllinois registered limited liability partnership that has elected to be governed by the Illinois Unii`orm Partnership Act (1997)

RETURN WITH PAYMENT
SEPTEMBER 17, 2012
Invoice: 1 l 17741 l
Payor: 7791
Matter: 931879

Regarding:

Fees: $5,026.50

Disbursements: $7.00

Total this invoice: $5,033.50
PAYMENT DUE ON THIS INVOICE .......................... $5,033.50
BALANCE DUE PR.IOR INVOICES ........................... $6,205.50

(See last page for details)

To Wire Payment:'l'he PrivateBank and Trust Company, Chicago, IL ABA# 071006486 Acct# 2195102 ~ PLEASE
REFERENCE INVOICE NUMBER

THE TRAVELERS COMPAN]ES, INC. Page: 2 SEPTEMBER 17, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11177411

08/01/ 12 CCH

08/01/ 12 CCH

SERVICES$

0.40 @ 250.00 100.00

READ AND REVIEW BIEGL DEPOSITION To IDENTu~'Y (1)
DocUMENTs ro REQUEST PURSUANT ror RULE 34 (2)
NOTE HIS TESTlMoNY REGARDING How RECORDINGS
RECORDED (3) NOTE INFORMATION To sEEK rN FORM
0F REQUEST To ADMIT FAcTs (4) IDENTIFY
DocUMENTs To sUPPLEMENT DEFENDANT's ANSWERS
To wRIT'rEN DlscovERY

0.80 @ 250.00 200.00

T 0 EDELMANS OFFICE TO INSPEC'I` BEIGL'S
EQUlPMENT USED TO MAKE RECORDlNGS, REVIEW
DECLARATION EXPLAINING HOW RECORDINGS MADE
AND TO DISCUSS CASE AND RULE ll MA'I`TERS WITH
ATTORNEY GREENE

 

08/01/12 CCH

08/01/ 12 CCH

08/01/12 CCH

08/01/12 CCH

08/01/12 CCH

08/01/12 DMS

0.50 @ 250.00 125.00
DRAFT THIRD SET OF INTERROGATOR]ES, SECOND SET
OF PRODUCTION REQUESTS AND SECOND SET OF
REQUEST TO ADMIT FAC'I`S TO PLAINT!FF

0.20 @ 250.00 50.00

DRAFT LETTER TO PLAINTIFF'S CO COUNSEL
ENCLOSING COPlES OF COMPLAINTS FILED BY BIEGL
TO SUPPLEMENT DEFENDANT'S ANSWERS TO WRIT'I`EN
DISCOVERY

0.20 @ 250.00 50.00

CALL TO ACCESS ONE COUNSEL TO DISCUSS THE
RESPONSE, CON'FIRM HE HAS NO REASON TO
QUESTlON RESPONSE AND DISCUSS WHAT EDELMAN IS
PUSHTNG HIM FOR

0.20 @ 250.00 50.00

DRAFT OUTLINE FOR RULE ll LETTER TO EDELMAN'S
OFFICE

0.50 @ 250.00 125.00

START DRAFTING LET'I`ER TO EDELMAN REGARDING
THE LACK OF MERIT OF HIS CLAIMS, ISSUES WITH THE
EVIDENCE UNDER RULE ll AND 1692K

0.40 @ 295.00 118.00

THE TRAVELERS COMPANlES, INC. Page: 3 SEPTEMIBER 17, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-1117741 l

REVIEW THE DISCOVERY ON THE PHONE AND
PLAINTIFF'S RECORDING, INCLUDING THE INFO FROM
SUBPOENA TO ACCESS, TN PREPARA'I`ION OF SANCTION
LETTER

08/03/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW CORRESPONDENCE WITH
BEIGL'S VERJFICATION FOR THE DEP TRANSCR_[PT

08/03/ 12 CCH 0.30 @ 250.00 75.00
CONDUCT BRIEF INTERNET INVESTIGATION IN'I`O THE
METHOD BIEGL USED TO RECORD THE 11/2 TELEPHONE
CALL AS EXPLAINED IN HIS DECLARATION IN
PREPARATION TO COMPLETE DRAFTING RULE l 1
LET'I`ER

08/07/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW AMENDED NOTICE FOR
SCHOENIG, BARBIC AND YOUNG DEPOSITIONS

08/08/12 CCH 0.10 @ 250.00 25.00

DRAFT EMAIL TO OPPOSING COUNSEL ABOUT TOPICS
FOR QUESTIONING CONSISTEN'I` WITH FRCP 30 FOR NCI
DEPOSITIONS

08/09/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW AND RESPOND EMAIL FROM
PLAINTIFF' COUNSEL ABOUT TOPICS TO BE COVERED
AT DEPOSITIONS OF NCI

08/09/ 12 CCH 0.10 @ 250.00 25.00
READ AND S'IUDY RULE 30 OF FRCP TO DETERMINE
WHEN TOPIC IDENTIFICATION REQUIRED TO RESPOND
TO EMAIL FROM PLAINTIFF'S COUNSEL BOUT NOTICES
FOR NCI DEPOSITIONS

08/09/12 CCH 0.10 @ 250.00 25.00

DRAFT EMAIL TO INSURED WITH DEPOSITION NOTICE,
CONFIRM DEPOSITION PREPARATION

08/09/12 CCH 0.20 @ 250.00 50.00

REREAD COMPLAINT AND DISCOVERY ANSWERS TO
IDEN'I'IFY RESPONSE, DOCUMENTS AND COMPLAINT
ALLEGATIONS TO WCLIIDE IN RULE 11 LETTER

08/09/12 CCH 0.20 @ 250.00 50.00

BRIEFLY REVIEW CASE LAW WHEREIN RULE ll
SANCTIONS ENTERED AGAINST PLAINTIFF TO
SUPPLEMENT SANCTIONS LETTER

THE TRAVELERS COMPANIES, INC. Page: 4 SEPTEMBER 17, 2012
0931879-11177411

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

08/09/12 CCH 4 0.70 @ 250.00

REVISE EDIT AND MAKE CHANGES AND ADDITIONS TO
DRAFT RULE 11 LETTER

08/09/12 DMS 0.10 @ 295.00
DRAFT-REVISE THE SANCTION LET'I`ER

08/10/12 CCH 0.20 @ 250.00
DRAFT EMAIL TO INSURED AND SURER WITH DRAFT

    

08/10/12 CCH 0.20 @ 250.00

REVIEW AND EXMA]NE DISCOVERY FILES TO PULL NCI
DOCUMENTS AND DISCOVERY ANSWERS VERIFIED TRS
IN ORDER TO PREPARE FOR NCI DEPOSITIONS

08/10/12 CCH 0.20 @ 250.00

RECEIVE STUDY AND RESPOND TO EMAIL FROM T.
SHOEING APPROVING THE CONTENT OF THE LETTER
AND PROCESS UNDER RULE 11

08/10/12 CCH 0.10 @ 250.00

RECEIVE AND REVIEW EMAIL FROM T. SCHOENIG
ABOUT FEES AND SANCTIONS AND RECOVERY OF
SAME

08/13/12 cCH 0.20 @ 250.00_
RESPOND ro EMAILS (2) FROM

 

08/13/12 CCH 0.30 @ 250.00

CONDUCT BRIEF RESEARCH OF CASE LAW AND
STANDARD COURTS IMPOSE FOR SANCTION UNDER 28
USC 1927 IN ORDER TO RESPOND TO EMAIL FROM
INSURED ABOUT SANCTIONS

08/13/12 CCH 0.50 @ 250.00
OUTLINE ARGUMENT/FACTS FOR RULE ll MOTlON

08/14/12 DMS 0.20 @ 295.00

CORR.ESPONDENCES WITH CLlENTS ON DEFENSES TO
THE CASE

175.00

29.50

50.00

50.00

50.00

25.00

50.00

75.00

125.00

59.00

THE TRAVELERS COMPANIES, INC. Page: 5 SEPTEMBER 17, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11177411

08/17/12 CCH 0.70 @ 250.00 175.00

CALL WITH TOM S, SHAWN S AND DMS ABOUT THE
CASE, EVIDENCE AT ISSUE, POTENTIAL SPOLIATION
MOTION BASED ON THE TAPE AND R. 11
LET'I`ER/REMEDIES

08/17/12 CCH 0.20 @ 250.00 50.00

REVIEW NOTES FROM FILE, DISCOVERY AND EMAILS
'l`O IDEN'I`IFY WHEN EDELMAN ADVISED OF WEAKNESS
OF CASE TO REVISE R. 11 LETTER TO ADDRESS THE
POINT

08/17/12 CCH 1.00 @ 250.00 250.00

DRAFT RULE ll MOTION WITH LEGAL STANDARD,
BACKGROUND AND POTION THAT EVIDENCE
PRODUCED BY NCI AND THIRD PARTY PROVIDE NO SET
OF FACTS TO SUPPORT THE CLA]MS

08/17/12 CCH 0.30 @ 250.00 75.00

REVISE AND EDIT RULE 11 LETI`ER TO ADDRESS PRIOR
DISCUSSlONS ABOUT LACK OF MERIT OF FACT AND
TIMING OF SAME AND CONFIRM WE WILL PROCEED
UNDER 1692K DISMISSAL OR NOT

08/17/12 DMS 0.80 @ 295.00 236.00

EXTENDED coNr. wrrH ToM, ADAM AND sHAwN oN
THE FAcrs, THE EVIDENCE RECALL, THE DEMAND
LETTER, sTRATEGY (.5); T/C FROM sHAwN oN THE
EleENcE rssuEs AssocIATED wrrH THE TAPE (.3)

08/20/12 CCH 0.10 @ 250.00 25.00

REREAD THE RULE TO SHOW CAUSE AGAINST ACCESS
ONE IN PREPARA'I`ION FOR HEARING ON STATUS OF
SAME

08/20/12 CCH l.50 @ 250.00 375.00

APPEAR IN COURT BEFORE JUDGE SHADUR ON RULE
TO SHOW CASE; ACCESS ONE'S ATTORNEY CALLED
FROM COURT ON RECORD, STATUS EXPLAINED AND
MA'I'I`ER SET FOR 2 WEEKS FOR COMPLlANCE

08/20/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW ORDER CGN'I`INUING RULE TO
SHOW CAUSE 'I'WO WEEKS

08/20/12 CCH 0.10 @ 250.00 25.00

 

THE TRAVELERS COMPANIES, INC. Page: 6 SEPTEMBER 17, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-1 l 17741 1

08/20/ 12 CCH 0.20 @ 250.00 50.00
DRAFT EMAIL TO CLIENTS WITH UPDATE ON HEARING
ON CONTINUED RULE TO SHOW CAUSE AGAINST
ACCESS ONE, SANCTIONS LET'I`ER AND DOCUMENTS
TO BE SENT IN ADVANCE OF THE DEPOSITION
PREPARATION

08/20/12 CCH 0.10 @ 250.00 25.00

DRAFT EMAIL TO TOM S WITH DISCOVERY IN
PREPARATION FOR THE CALL TO PR.EPARE H]M FOR HIS
DEPOSITION

08/20/12 CCH 0.30 @ 250.00 75.00

REVIEW DOCUMENTS NCI PRODUCED IN DISCOVERY,
REVIEW INTERROGATORY ANSWERS AND 26(A)(l)
DISCLOSURE MADE BY NCI AND COMPLA]NT TO
PREPARE TOM, MS. BARB!C AND MS. YOUNG FOR
THEIR TESTIMONY

08/20/12 CCH 0.40 @ 250.00 100.00

DRAFT OUTLINE OF QUESTIONS AND ISSUES TO
DISCUSS WITH (l) TOM AND (2) FEMALE COLLECTORS
BEFORE TESTIMONY

08/‘21/12 CCH 0.70 @ 250.00 175.00
CALL TO PREPARE TOM S FOR HIS DEPOSITION

08f21/12 CCH ~ 0.20 @ 250.00 50.00

REVISE AND EDIT DRAFT MOTION FOR SANCTIONS IN
PREPARATION TO SERVE WITH LETTER

08/2]/ 12 CCH 0.40 @ 250.00 100.00
CALL WITH MS BAR.BIC AND MS. YOUNG TO PREPARE
THEM FOR THEIR DEPOSITIONS

08/21/12 CCH 0.10 @ 250.00 25.00
RE VIEW E

08/22/ 12 CCH 0.10 @ 250.00 25.00
DRAFT EMAIL 'l`O CLIENTS WITH RULE ll LETTER SENT
TO EDELMAN

08/‘22/12 CCH 0.40 @ 250.00 100.00

THE TRAVELERS COMPANIES, INC. Page: 7 SEPTEMBER 17, 2012
0931879-11177411

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

START WORK INVESTIGA'I`ING POTENTIAL FORENSIC
EXPERTS TO OFFER OPINIONS POTENTIALLY
REGARDING AUDIO TAPE; SPEAK TO LAWYERS AND
PRIV. INVESTIGATORS; INVES'I`IGATE WEBSITES OF
POTENTIAL OFFERS

08/23/12 CCH 0.30 @ 250.00

CONFERENCE WITH HANRAHAN INVESTIGATIONS
ABOUT POTENTIAL FORENSIC EXPERTS ON AUDIO
TAPE ANALYSIS; THEY WILL REVIEW THEIR DATABASE
FOR POTENTlAL E}G’ERTS THAT ARE LOCAL/M]DWEST

08/24/12 CCH 0.10 @ 250.00

RECEIVE AND REVIEW EMAIL FROM PLAINT]FF'S
COUNSEL ABOUT R. ll LETTER AND DEPOSITIONS

08/24/12 CCH 0.30 @ 250.00

CALL WITH POTENTIAL FORENSIC EXPERT ON AUDIO
TAPES AND SCOPE GENERALLY OF WORK WE NEED;
DISCUSS FEE S'I'RUCTURE, WHAT WOULD BE NEEDED
IN TERMS OF DEPOSITIONS AND TRIAL; HE WILL
FORWARD FEE STRUCTUR.ES FOR OUR FURT!-[ER
REVIEW (DURAND BEGAULT AND CHRIS PE'I'I`IER OF
CHAS. M.SALTER IN CAL[FORNIA)

08/24/ 12 CCH 250.00
RECEIVE AND REVIEW EMAIL FROM TOM

08/25/12 CCH 0.20 @ 250.00

START REVIEWING CVS AND BIOGRAPHY OF PAPERS
AUTHORED BY POTENTIAL FORENSIC EXPERT AT
CHAS. A SALTER & ASSOC.

08/26/12 CCH 0.10 @ 250.00
08/27/12 CCH 0.10 @ 250.00

RECEIVE AND REVIEW EMAIL FROM FRANCIS THAT
THEY WILL FILE A MOTION TO WITHDRAW TODAY

08/27/12 CCH 0.10 @ 250.00

CALL WITH FRANCIS ABOUT MOTION TO WITHDRAW,
CANCELING DEPOSITIONS AND WHAT BEIGL PLANS TO
DO WITH THE CASE

08/27/12 CCH 0.30 @ 250.00

75.00

25.00

75.00

25.00

50.00

25.00

25.00

25.00

75.00

THE TRAVELERS COMPANIES, INC. Page: 8 SEPTEMBER ]7, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, l'NC 0931879-1 117741 1

DRAFT EMAlL TO CLIENTS TO REPORT ED MAN

    

08/27/12 CCH 0.10 @ 250.00 25.00

RECEIVE AND STUDY PLAINTIFF'S MOTION TO
WITHDRAW

08/27/12 CCH 0.10 @ 250.00 25.00

REREAD RULE ll AND SECTION 1692K OF THE ACT FOR
STANDARD TO APPLIED FOR FEES & COSTS ON CASE
NOT TR.IED TO LIABLI'I'Y

08/27/12 DMS 0.20 @ 295.00 59.00

REVIEW THE MOTION FOR WITHDRAWAL AND THAT
PL. IS NOT DISMISSING THE CASE (.1); REVIEW TOM'S

RESPONSE AND INiUlRY, ADVISIN-

08/29/12 CCH 0.30 @ 250.00 75.00

DRAFT RESPONSE TO EMAIL FROM INSURED, COPY
lNSUR.ED, ABOUT R. ll MOTION AND WHERE WE STAND
NOW SINCE THE WITHDRAW HAS BEEN FILED

08/29/12 CCH 0.20 @ 250.00 50.00

CALL TO ACCESS ONE LAWYER TO ASK THAT HE
SUBMI'I` CERTIFICATION THAT ACCESS ONE FULLY
COMPLIED WITH AND RESPONDED TO THE SUBPOENA
BECAUSE WE UNDERSTAND THAT THIS THE CASE AND
WE WANT TO CLOSE OUT THE ISSUE

08/29/12 CCH 0.10 @ 250.00 25.00

REVIEW DISCOVERY FILE TO IDENTIFY (l)
OUTSTANDING DISCOVERY PLAINTIFF OWES US AND
DUE DATE (2) OUTSTANDING ISSUES WE SPOKE TO
EDELMAN ABOUT REGARDING CASE/FACTS THAT WE
NEED AN ANSWER ON IN ADVANCE OF HEARING ON
EDELMAN'S W/DRAW MOTION

08/30/12 CCH ' l.50 @ 250.00 375.00

APPEAR lN COURT BEFORE JUDGE SHADUR ON
PLAINTIFF'S MOTION TO WITHDRAW; MOTION TO
WI'I'HDRAW MOTION TO WITHDRAW MADE ORALLY
GRANTED; MOTION TO DISMISSED WITH PREJUDICE
GRANTED

08/30/12 CCH 0.20 @ 250.00 50.00

THE TRAVELERS COMPANIES, INC. Page: 9 SEPTEMBER 17, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-1 l 17741 l

08/30/12 CCH

08/31/12 CCH

CALL WITH SHAWN H ABOUT HEARING, DISMISSAL
AND OPTIONS FOR SANCTIONS; CONFIRM WE WILL
[NVESTIGATE AND REPORT BEST OPTIONS TO HIM AN
INSURED

0.20 @ 250.00 50.00

OUTLINE POINTS FOR RESEARCH ON 1692K OPTIONS
AGAINST BEIGL AND IF WE CAN MOVE FOR SANCTION
IF CASE'DISM]SSED

0.30@ 250.00 75.00

READ AND STUDY CASE LAW PULLED REGARDING
SANCTIONS TO ANSWER QUESTIONS (1) CAN WE SEEKS
SANCTIONS UNDER 1692K W/ DISMISSAL AND (2) CAN
WE SEEK THEM AGAINST PLAINTIFF

Total fees this bill $5,026.50

Total disbursements this bill $7.00
Total this bill $5,033.50

Total prior bills (list follows) $6,205.50

Total bills payable: $1 1,239.00

THE TRAVELERS COMPANIES, INC. Page: 10 SEPTEMBER 17, 2012

 

 

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11177411
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C PARTNER 18.10 Hours at 250.00 = $4,525.00
DMS SCHULTZ, DAVlD M. PARTNER 1.70 Hours at 295.00 = $501.50
$5,026.50
Recap of Disbursements:
Total disbursements $7.00

 

Unpaid Prior Invoices *

Number Date Amount Due
11157952 07/11/12 $4,318.35
11165300 08/07/12 $1,887.15
Total $6,205.50
This Invoice $5,033.50
Total Current & Prior Invoices $11,239.00

* If you have any questions concerning prior invoices, please call our Accounts Receivable Department at 3431.

 

CLIENT COPY

HINSHAW

 

Payment Address: & C U L B E R T S O N
HINSHAW & CULBERTSON
8142 SOLUTIONS CENTER DR. 312.704.3000
CHICAGO IL 60677-8001 IRS IDENTIFICATION NO. XX-XXXXXXX
* INTERIM *

Invoice No: 11181776 DMS VMD
OCI`OBER 4, 2012 ln Connection with our Matter: 931879
The Travelers Companies, Inc. BEIGL, BILL VS NORTHWEST COLLECTORS, INC
Shawn A. Harris Insured: Northwest Collectors, Inc.
385 Washington Street Claimant: Beigl, Bill
MC 9275 NBO3F Your File Number: T1201860
St. Paul, MN 55109 Other ID: 1080415

Represent: Northwest Collectors, Inc.
Court Ref Number: 12-cv-00150
Deductible Invoice Sent to: Court Name: United States District Court
Northwest Collectors, Inc.

For professional services rendered through SEPTEMBER 28, 2012 . . . . $4,973.00
For disbursements paid through SEPTEMBER 14, 2012 ............. $40.00
Total amount due this invoice ................................. $5,013.00
Total amount billed to Insured this invoice ....................... ($0.00)
Your portion of this invoice ................................... $5,013.00

lfyou have any questions concerning this invoice please contact DAVID M. SCHULTZ, CHICAGO office at (312)
704-3000.
Hinshaw & Culbcrtson LI.P is an Illinois registered limited liability partnership that has elected to be governed by the Illinois Unit`orm Partnershi'p Act (1997)

RETURN WITH PAYMENT
OCTOBER 4, 2012
Invoice: 11181776
Payor: 7791
Matter: 931879

Regarding:

Fees: $4,973.00

Disbursements: $40.00

Total this invoice: $5,013.00
PAYMENT DUE ON THIS INVOICE .......................... $5,013.00
BALANCE DUE PRIOR INVOICES .......................... $1 1,239.00
(See last page for details)

To Wire Payment:The PrivateBank and Trust Company, Chicago, lL ABA# 071006486 Acct# 2195102 - PLEASE
REFERENCE INVOICE NUMBER

THE TRAVELERS COMPANIES, INC.

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

09/05/ 12 CCH

09/05/ 12 CCH

09/05/ 12 CCH

09/05/ 12 CCH

09/06/ 12 CCH

09/06/ 12 DMS

09/07/ 12 CCH

09/08/ 12 CCH

SF.Rvich:

0.20 @ 250.00

DRAFT UPDATE ON THE CASE STATUS AND PROPOSED
RESOLUTION STRATEGY IN RESPONSE TO REQUEST
FOR INFORMATION ON SAME FROM TRAVELER'S

0.30 @ 250.00

BRIEFLY REVIEW CASE LAW WHEREIN 1692KA3
DAMAGES WERE AWARDED TO DEF. COUNSEL AND
WHERE NOT TO DETERMINE IF THERE WER.E
FACTS/TRENDS SIMILAR TO OUR CASE TO ASSIST WlTH
MAKING DETERMINATION ON HOW TO MOVE
FORWARD WITH SANCTIONS

0.20 @ 250.00

BRIEFLY REVIEW CASE LAW ON SANCTIONS UNDER
1927 OF USC TO DETERM]NE STANDARD AND GROUNDS
APPLIED TO ASSIST WITH DETERMINATION OF
GROUNDS TO MOVE ON SANCTIONS IN THIS CASE

0.10 @ 250.00
RECEIVE
sANcTIoN

0.20 @ 250.00

DRAFT EMAIL TO INSURED AND INSURER WITH
UPDATE ON DISMISSAL, TRAVELERS APPROVED
SANCTIONS AND DISCUSS]NG THIS STRATEGY

0.20 @ 295.00

EMAILS WITH TOM ON STATUS AND SANCTIONS; CONF.
WITH SHAWN ON THE SAME AND REPORTING;
EXTENDED CALL WITH TOM ON FACTS, LAW,
SANCTIONS; REVIEW ARDC PLEADING (1.0 MTNUS .8
DISCOUNT)

0.40 @ 250.00

REVIEW OUR BI_LLS TO IDENTIFY (l) COMMUNICA'I`IONS
QUESTIONING BEIGL'S TAPE AND EVIDENCE TO START
WORK ON SANCTIONS RESEARCH AND MOTION AND (2)
COSTS WE CAN PETITION FOR WITH BILL OF COSTS
AND IDENTIFY INVOICES TO HAVE ACCOUNTING
PROVIDE

0.60 @ 250.00

DRAFT MEMO OUTLINING THE STANDARDS, GROUNDS
FOR SANCTIONS AGAINST BIEGL AND EDELMAN
UNDERR.11,1927AND1692K

Page: 2 OCTOBER 4, 2012
0931879-11181776

50.00

75.00

50.00

25.00

50.00

59.00

l 00.00

150.00

THE TRAVELERS COMPANIES, INC. Page: 3 OCTOBER 4, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11181776

09/08/ 12 CCH

09/10/ 12 CCH

09/10/12 CCH

09/11/12 CCH

09/11/12 CCH

09/11/12 CCH

09/11/12 CCH

09/11/12 DMS

0.40 @ 250.00 100.00

DRAFT l'NTRODUCTION TO SANCTIONS MOTION
AGAINST BIEGL UNDER 1692KA3

0.50 @ 250.00 125.00

DRAFT EMAIL TO CLIENTS WITH ANALYSIS OF VIABLE
GROUNDS FOR SANCTIONS AGAINST WHICH PARTIES
AND TIM'E LINE ON THE CASE AS WELL AS DEADLINE
FOR MOTION

0.30 @ 250.00 75.00

READ FDCPA 3 APPELLATE DECISIONS FROM 10TH, 9TH
C[RCUITS AND 7TH C]RCUITS TO DETERMI`NE ]F CASES
INVOLVED FINDINGS OF BAD FAITH, HARASSMENT
UNDER 1692 KA 3 IN AFFIRM]NG SANCTIONS AWARDS
TO CITE lN MOTION FOR SANCTIONS; 9TH AND 10TH CIR
CASES DO BUT 7TH ClR CASE DOES NOT

0.10 @ 250.00 25.00

CALL TO EDELMAN ABOUT SANCTIONS MOTION TO BE
FILED AND lF THEY KNOW ANYTHING ABOUT BlEGL'S
AB[LITY TO SATISFY A JUDGMENT

0.10 @ 250.00 25.00

RECEIVE AND REWEW E-MAILS FROM INSURER ON
SANCTIONS AND INSURER CONFIRMING SANCTIONS
AGAINST BEIGL ONLY

0.70 @ 250.00 175.00

REVIEW AND STUDY PLAINTIFF'S DISCOVERY
ANSWERS, DOCUMENTS AND DISCLOSURES AND
NORTHWEST DISCOVERY ANSWERS DOCUMENTS AND
DISCLOSURE TO IDENTIFY WHAT
DOCUMENTS/[NFORMATION WAS PRODUCED BY
NORTHWEST WHEN AND WHAT INFORMATION BEIGL
PRODUCED WHEN FOR THE CHRONOLOGY OF THE
SANCTION MOTIONS

0.30 @ 250.00 75.00

DRAFT CHRONOLOGY OF WHAT
DOCUMENTS/INFORMATION WAS PRODUCED BY
NORTHWEST WHEN, WHAT lNFORMATlON BEIGL
PRODUCED WHEN FOR THE CI-IRONOLOGY OF TI-IE
SANCTION MOTIONS AND WHEN DlSCUSSIONS/EMAILS
WERE SENT TO BEIGL QUESTIONS ON HIS EVIDENCE ]N
ORDER TO DRAFI` FACTUAL BACKGROUND OF MOTION
FOR SANCTIONS

0.20 @ 295.00 59.00
CORRESP'S WITH TOM ON THE SANCTIONS MOTION

THE TRAVELERS COMPANIES, l'NC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

09/12/12 CCH

09/12/12 CCH

09/12/12 CCH

09/12/12 CCH

09/12/12 DMS

09/13/12 CCH

09/13/12 CCH

09/13/12 CCH

0.30 @
REVIEW BILL OF COSTS AND ITEMIZED "OTHER COSTS"
AND CONFI PROPRIATE INVOICES ARE
ATTACI'[ED REDACT PRIVILEGE MATERIAL

FROM FIRM BILLING AND VERIFY TOTAL CORRECI` IN
PREPARATION TO FILE

0.50 @

REVISE AND SUPPLEMENT BRIEF TO REFOCUS TI~[EME
OF BRIEF TO HIGHLIGHT BlEGL'S PURSUIT IN BAD
FAITH, DISCUSS WHAT HE DID, WHAT I~[E PRODUCED
AND THAT NORTHWEST WAS FORCED TO DISPROVE
HIS CASE

0.30 @

DRAFT LIST OF EXHIBITS, INCLUDING DISCOVERY
ANSWERS, DISCLOSURES, EMAILS, LETTERS, AND
DOCUMENT TO BE FILED IN SUPPORT OF MOTION FOR
SANCTIONS

0.60 @

SUPPLEMENT MOTION\FOR SANCTION WITH
ARGUMENT THE BIEGL SUTT W"ITH AN INTENT TO
HARASS NORTHWEST THAT STARTED BEFORE l-[E
FILED THE COMPLA]NT AND WITH DISREGARD FOR HIS
EVIDENCE THAT WAS FAKE

0.30 @

BEGIN TO DRAFT/REVISE PORTIONS OF THE SANCTION
MOTION - ORGAN`IZE SECTIONS AND ADD PORTION ON
THE ACT

0.20 @

DRAFT LETTER TO JUDGE SHADUR WITH COURTESY
COPIES OF MOTION FOR SANCTIONS PER LOCAL RULE
5.2

0.30 @

OUTLINE GENERAL FACTS TO HIGHLIGHT FOR COURT
[N FACTUAL BACKGROUND SECTION TO BE ADDED TO
MOTION

0.30 @

DRAFT FACTUAL BACKGROUND SECTION OF MOTION,
SET FORTH CLAIMS IN COMPLAINT, PLAINTIFF'S
THEORY, HIS EVIDENCE/DISCOVERY VERSUS OUR
EVIDENCE DISCOVERY, ACCESS ONE DISCOVERY AND
HIS DEPOSITION AND ARGUE NOT UNTlL WE HAD TO
FIGURE OUT HIS CASE WAS FALSE DID HE QUIT

Page: 4 OCTOBER 4, 2012
0931879-11181776

250.00 75.00
250.00 125.00
250.00 75.00
250.00 150.00
295.00 88.50
250.00 50.00
250.00 75.00

250.00 200.00

THE TRAVELERS COMPANIES, INC. Page: 5 OCTOBER 4, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11181776

09/13/12 CCH 1.00 @ 250.00 250.00

REVISE AND EDIT MOTION FOR SANCTION, CORRECT
FACT REFERENCES IN BRIEF SO THEY ARE IN LINE
WITH FACTUAL BACKGROUND SECTION; ADD
ADDITIONAL CITATIONS TO CASES WHERE PLAINTIFF
SANCTIONS FOR HARASSMENT UNDER 1692K, INCLUDE
TESTIMONY CI'I`ATIONS FROM BIEGL'S DEPOSITION
TRANSCRlPT AND OTHER CASES WHERE BAD FA]'I'H
FOUND FOR FALSE PLEADING AND ALTERING
EV]DENCE

09/13/12 CCH 0.30 @ 250.00 75.00

REVISE SANCTION MOTION TO INCLUDE CITATIONS TO
THE APPROPRIATE EXHIBITS TO BE FILED IN SUPPORT

09/13/12 CCH 0.70 @ 250.00 175.00

READ BIEGL'S DEPOSITION TESTIMONY AND IDENTIFY
TESTIMONY THAT HE GIVES TO (1) SUPPORT HIS FAKE
TAPE (2) THE 608 NUl\/fBER AND (3) TO SUPPORT HIS
FALSE CLAIMS TO INCLUDE IN SANCTIONS MOTION

09/13/12 CCH 0.10 @ 250.00 25.00

READ LOCAL RULE FOR REQUIREMENTS FOR JUDGE'S
COPY IN TERMS OF BIDING AND TABBING EXHIBITS

09/13/12 CCH 0.30 @ 250.00 75.00

REVTEW FRCP 54D REGARDING COSTS AND CASES
DISCUSSING BILLS OF COST; CONF[RM WHEN THEY
CAN BE SOUGHT, IF IT BASED ON STATUS AS
PREVAILING PARTY OR JUDGMBNT AND [F THE COURT
HAS DISCRETION TO AWARD

09/13/12 CCH 0.30 @ 250.00 75.00

BRIEFLY READ CASES LAW CLERK PULLED WHEREIN
SHADUR HAD TO DEC]DE SANCTION ISSUES; NOTE IF
ANY CASES INVOLVED SANCTION UNDER SECTION K
AND WHAT THE DECISIONS DID INVOLVE AND HOW
SHADUR HANDLED THE MATTERS FOR USE TO ARGUE
SANCTION MOTION

09/13/12 DMS 1.80 @ 295.00 531.00

DRAFT AND REVISE OUR SANCTIONS MOTION,
REVIEWING PORTIONS OF THE COMPLAINT, THE
DISCOVERY, THE DOCKET, AND CONF[RM]NG THE
TIMELINE

09/14/ 12 BWG 2.40 @ 0.00 0.00

OBTAIN AND ANALYZE FEDERAL LEGAL AU'I`HORITY
RE PROCEDURE AND PROPRIETY OF FDCPA SANCTIONS
AGAINST PLAINTIFF

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

09/14/12 BWG 0.50 @
OBTAIN AND ANALYZE FEDERAL STATUTORY
AUTHORITY RE DEADL]NE FOR FILING SANCTIONS
MOTION

09/14/12 BWG 2.10 @

RESEARCH, ANALYZE, AND WRITE MEMO RE JUDGE
SHADUR'S PRIOR SANCTION RULINGS FOR USE l'N
DE'I'ERMINING LIKEL[HOOD OF SUCCESS ON MOTION.

09/14/12 CCH 0.10 @

RECEIVE AND STUDY EDELMAN'S MOTION TO
WITHDRAW

09/14/12 DMS 0.60 @

T/C WITH GREENE ON OUR SANCTIONS/COSTS MOTIONS
AND WHETHER THEY Wl`LL DEFEND (.2); DRAFT EMAILS
(3) TO CLIENTS ON THE VARIOUS MOTIONS AND CONF.

WlTH EDELMAN'S OFFICE (.2); REVIEW

   
 

09/17/12 CCH 0.10 @
CALL FROM EDELMAN ABOUT WDRAW MOTION

09/21/12 CCH 0.10 @

RECEIVE AND REVIEW ORDER ON MOTION TO
WITHDRAW AND MOTION FOR SANCTIONS; RULE TO
SHOW CAUSE ISSUED

09/21/ 12 CCH 0.20 @

REVIEW BILLS AND IDENTIFY THOSE TO BE SCANNED
FOR REDACTING TO BE USED AT AND PREPARE FOR
RULE TO SHOW CAUSE HEARING AND NOTE WORK IN
PROGRESS (UNBILLED TIME) TO BE OBTAIN ON 9/27
FROM ACCOUNTING

09/21/12 CCH 1.00 @

APPEAR [N COURT BEFORE JUDGE SHADUR ON
EDELMAN'S RENEWBD MOTION TO W/DRAW AND
MOTION FOR SANCTIONS; MOTION TO WITHDRAW
GRANTED; MOTION FOR SANCTIONS CONTINUED; RULE
TO SHOW CAUSE TO BE ISSUED TO BEIGL

09/21/12 CCH 0.10 @

RECE ILS FROM SCHEONIG
ABOUT

Page: 6 OCTOBER 4, 2012

0.00

0.00

250.00

295.00

250.00

250.00

250.00

250.00

250.00

0931879-11181776

0.00

0.00

25.00

177.00

25.00

25.00

50.00

250.00

25.00

THE TRAVELERS COMPANIES, INC.
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC

09/21/12 CCH

09/21/12 DMS

09/26/ 12 CCH

09/27/12 CCH

09/28/12 CCH

09/28/ 12 CCH

09/28/ 12 CCH.

0.20 @

DRAFT MEMO TO FlLE REGARDING HEARING ON
RENEWED MOTION TO W/DRAW, EDELMAN'S
COMMENTS TO SHADUR ON ALLOWING BEIGL TlME TO
RETAIN NEW COUNSEL AND SHADUR'S RESFONSE;
NOTE RULE TO ISSUE FOR ONE WEEK RETURN DATE
AND EDELMAN INSTRUCTED TO EMAIL BEIGL ABOUT
SAME

0.20 @

CORRESP'S WITH CLIENTS ON THE HEARING TODAY
AND STRATEGY FOR NEXT HEARING

0.30 @

WORK ON PREPARING FOR RULE TO SHOW CAUSE AND
SANCTIONS MOTION HEARING; OUTLINE POTENTlAL
ISSUES THAT J. SHADUR WILL HAVE TO ADDRESS WITH
BIEGL BASED ON CONSTITUTIONAL STATUS AS BEING
IN CUSTODY IF BIEGL APPEARS IN COURT CONSISTENT
WITH RULE TO SHOW CAUSE; OUTL]NE POTENTIAL
SCOPE OF QUESTIONING RELATED TO RULE TO SHOW `
CAUSE JUDGE SHADUR COULD POSE

0.50 @

READ AND REDACT PRIVILEGED INFORMATION FROM 5
MONTHS OF INVOICES IN PREPARATION TO USE IN
EVIDENCE AT HEARING.

1.00 @

APPEAR IN COURT BEFORE JUDGE SHADUR ON RULE
TO SHOW CAUSE AND CONTINUED MOTION FOR
SANCTIONS; BEIGL DID NOT APPEAR; MOTION FOR
SANCTIONS GRANTED AND SUBMISSION OF BlLLS
DlSCUSSED WITH DEADLINE SET

0.20 @

DRAFT EMAIL TO CLIENTS ABOUT RULE TO SHOW
CAUSE AND SANCTIONS MOTION HEARING; BIEGL DID
NOT SHOW. MOTION GRANTED AND SUBMISSION
DATES FOR INVOICES SET

0.60 @

READ BIEGL'S DEPOSITION TRANSCRlPT AND DEP
OUTLINE; REVIEW HIS DISCOVERY ANSWERS; OUTLINE
TOPICS FOR QUESTIONING ABOUT PLEADING, HIS
VERIFlED ANSWERS TO DISCOVERY, THE TAPE AND
TESTIMONY ABOUT IT; TO PREPARE FOR RULE TO
SHOW CAUSE HEARING, POTENTIAL EXAMINATION OF
BIEGL (lF IN COURT AND PERMITTED BY JUDGE) AND
CONTINUED SANCI`ION MOTION HEARING

Page: 7 OCTOBER 4, 2012

250.00

295 .00

250.00

250.00

250.00

250.00

250.00

0931879~11181776

50.00

59.00

75.00

125.00

250.00

50.00

150.00

THE TRAVELERS COMPANIES, INC; Page: 8 OCTOBER 4, 2012
Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11181776

09/28/12 CCH 0.10 @ 250.00 25.00

DRAF'I` OUTL]NE FOR SPREADSHEET WITH BREAK
DOWN OR FEES AND COSTS BY MONTI-H_,Y INVOICE TO
FlLE WITH BILLS

09/28/]2 CCH 0.10 @ 250.00 25.00

RECEIVE AND REVIEW ORDER ON MOTION FOR
SANCTIONS AND TO SHOW CAUSE; DIARY DATES

09/28/12 DMS 1.10 @ 295.00 324.50

COURT APPEARANCE BEFORE JUDGE SHADUR FOR
HEARING ON OUR SANCTIONS MOTION (.9); PREP. WITH

CORRINE BEFOREHAND (.2)
Total fees this bill $4,973.00
Total disbursements this bill $40.00
Total this bill $5,013.00
Total prior bills (list follows) $1 1,239.00

Total bills payable: $16,252.00

THE TRAVELERS COMPANIES, INC. Page: 9 OCTOBER 4, 2012

 

Re: BEIGL, BILL VS NORTHWEST COLLECTORS, INC 0931879-11181776
Recap of Fees: Timekeeper, Hours, Rate
CCH HEGGIE, CORINNE C PARTNER 14.70 Hours at 250.00 = $3,675.00
BWG GOLUSKA, BENJAMIN W LAW CLERK 5.00 Hours at 0.00 = $0.00
DMS SCHULTZ, DAVlD M. PARTNER 4.40 Hours at 295.00 = $1,298.00
$4,973.00

Recap of Disbursements:

Total disbursements $40.00

 

Unpaid Prior Invoices *

Number Date Amount Due
11157952 07/11/12 $4,318.35
11165300 08/07/ 12 $1,887.15
11177411 09/17/12 $5,033.50
Total $1 1,239.00
This Invoice $5,013.00
Total Current & Prior Invoices $16,252.00

* If you have any questions concerning prior invoices, please call our Accounts Receivable Department at 3431.

 

Case:1:12--cv-00150 Docum“=l NSHRWZ Page 2 of 6 Page|D #: 278

\l.,_»._ &CULBERT$ONLLP

' DOC¢|GET DEPARTMENT REQUEST FGRW| , _ _ z _ _
-Fi@questor M Date Fiec’d. 9// -` /Z,_Bate C_omple_ted zgg“} )?
` _ .. GOmp`iei_é_d B_y'_ __ ' 4 __

Rec-’cl. §y_ /// %%-- Z/ ._

 

 

  
 
 

 

 

        

  

fit/latter No. (Requlred) "" |V|afferNam__:"'

 

 

 

 

 

~ - - - 1 ~ . COURT/AGENCY
Cl §a`|_ey Ce ter __ _ec|er_a'l`C_ourt ` ~ ' E| Other
.) /W W/ , _ ,.
Case_ Name 'M"_/ /: //,E//WM
s'PE¢inLriNs}rRucrioNs

 

 

'.1_. DRequest for Copies _______ _-_____E|Ce"~_tifi€d __ ' ___ ..U.'Begu_|ar

 

 

2 El P|ease enter the above case on- the |\/iction call (Fioutlne Emergency, Fiegu|ar)

 

  
 
  

:Judge ` x ' ' '- Room___ Date(s)

'otl'o`n for/to

 

   

  
 

' ._ 0 Piease deliver

` Jud ".:'/F.’;erscn‘ II[~

 

» 4. ElOtherFiequest

 

 

@@ w i-i‘€-V~@i

 

 

 

 

 

 

._ _. __ .. ._ .. ` GCOUNTlNG
` Docket Fees: Bil|ing Descrlption:

      

 

Cl Court call by Docket Dept. C|erk to court clerk’s office to file

. d pleadings/motions in oase. (Expense Gode_ 40)
'_,Xi $40.00 Court Fiun
' Cl Court call by Docket Dept. Clerk to court c|erkls office to search

$75,-00 Houriy Rate _ court _file, make copies of filed _documents. (E-)<`pense Code 50)

v ’Court call by Docket Dept_ C|erk to court clerk"s office to deliver
courtesy copies to Judge’ s Ohambers as required before hearing.

Time Spent On Fi@QU@St (Expense Code 50)

_ 00
Total Fees: $ LLZ©" _

Whiie - oRiGlNAToFi canary - AccouNTiNe Pini< - DOCKET ~ 1/08

 

 

 

 

 

Case: 1:12-cv-00150 Document #: 32-1 Filed: 09/13/12 Page 3 of 6 PagelD #:279

. INVOICE

 

 

 

 

 

 

 

 

y;g?vr:::hc€ausr;l::e§;::;$' Inc' ' Invoice ;No. ‘In.voice'fDi!ite `.Job »No.
suite 2900 1 465156 6/20/2012 - 438254
chicago, IL 60601 ' g _b__D t _ _ _ s
Phone:800-622-6755 Fax:312-263-7494 -' ° 4' _"" e ~'-Case"“°-
6/7/2012 12 cv 00150
-~'t:ase.iN_ame

 

Beigl, Bill vs. Northwest Collections

L

Corinne Heggie . .' __ _ ~ 4
Hinshaw & Cu|bertson, LLP Pa.¥me-ntm-e'?m$

222 North LaSalie Street

suite 300 Net 30
Suite 500 - Mallroom
Chicago, IL 60601

-'oRIGI_NAL TRANSCRin~IN:QONDENSED~FGRMAT oF.~
'wiiiiam-.Be'i_gi _ ' *
E-Transcripi:.=Fi|e
original E_><:hiisits;iitm_ciied
D_e‘livery-&--l'-iar_i‘_diliig - ._ _ t

 

 

 

 

  

510.450`§

148.00 ~Psg'es"" ij_`
' 2500 41

 

  

' '”g'i_=;a"_ii__<$._zei_)@**

   
 

l F..’|ea_se'note our'suitefh`a `

` §in*'es`.s_,,.‘ y
;at;iMc'De`ps..com

 

 

 

Tax ID: 362799976

Please detach bottom portion and return wit/1 paymenl.

Job No. : 438254 BU ID :MCC-MAIN
Corinne Heggie Case No. : 12 CV 00150
Hinshaw & Culbertson LLP . - -
_ . B l . rth st C
222 North Lasa“e Stre'et Case Name eig , Bill vs No we oliections
Suite 300
Suite 500 - Mai|room Invoice Nc. : 465156 Invoice Date :6/20/2012
Chi°ag°' IL 60601 Total cue : $ 543.10

 

 

PAYMENT WITH CR§DIT CARD

Cardho|der’s Name:

Remit To: McCorkle Court Reporters, Inc. Ca"d Number:

 

 

200 North Lasaiie street E><L- Date: Ph°“e#i
Suite 2900 Biii`inci Address:
Ch'cag°' IL 60§01 Zip: Card Secur'rtv.Code:

 

Amount to Charqe:

Case: 1112-cv-0015O Document #: 32-1 Filed: 09/13/12 Page 4 of 6 Page|D #:280

"._“.~ ,J?'

McCork|e Court Reporters, Inc.

200 North l.aSalie Street

Suite 2900

Chicago, IL 60601

Phone:800-622-6755 Fax:312-263-7494

Corinne Heggie

Hinshaw & Culbertson, LLP
222 |\|orth LaSa||e Street
Suite 300

Suite 500 - Mailroom
Chicago, IL 60601

INVOICE

 

 

 

 

 

 

 

Invoice No. Invoice Date Job No.
463729 6/15/2012 438254
Job Date. ' 'Case No.
6/7/2012 12 CV 00150
Case Name

 

Beigl, Bill vs Nortth Collections

 

Payment Terms

 

 

Net 30

 

 

TAKEN BUT NOT TRANSCRIBED DEPOSITION OF:
`Biii'Beigi ` ‘
Non Transcrlbed ~ Hourly _

**P|ease note our suite has changed to 2900**

Thank you. We appreciate your business.
Transcript files posted in our repository at McDeps.com

 

3.00 @ 62.50 187.50
TOTAL DUE >>> $187.50

 

ii:i

 

Tax ID: 362799976

Please detach bottom portion and return with paymentl

Corinne Heggie

Hinshaw & Culberl;son, LLP
222 North LaSa|le Street
Suite 300 -

Suite 500 - Mai|room
Chiczgo, IL 60601

Remit To: McCorkle Court Reporters, Inc.
200 North LaSalle Street
Suite 2900
Chicago, IL 60601

Invoice No. : 463729

Invoice Date : 6/15/2012

Total Due . : $ 187.50

Job No. : 438254

BU ID : MCC-MAIN

Case No. : 12 CV 00150

Case Name : Beigl, Bill vs Northwest Collections

 

 

Case: 1:12-cv-00150 Document #: 32-1 Filed: 09/13/12 Page 5 of 6 PagelD #:281

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pontis Systems, Inc. lnvoi
228 S.Wabash Ave., Ste 210 ce
v Chicago, lL 60604 DATE iNvoicE
/ vuill!y¢mhr. Tel: (312)427"3919
4/19/2012 20120049
._;) -
BlLL TO SHIP TO
Hinshaw & Culbertson LLP Hinshaw & Culbertson LLP
222 N. LaSalle Street, Ste 300 222 N. LaSalle Street, Ste 300
Chicago, [L 60601 Chicago, ]L 60601
Attn: Accounts Payable Attn: Corinne C. Heggie
Fé"d. id: 3§`-21§§§1 48 ' '
P.O. NO TERMS SHlP V|A JOB |D
C Matter#931879 Due on receipt Customer PickUp 04-19-2012 Matter# 931879 l
DESCR|PT|ON QUANT|TY RATE 7 AMOUNT l
Convert Microcassette -> MPS--> CD 1 $0.00 $0.00
Re: Bill Beigl v. Northwest Collectors, Inc.
case No. 12-cv-00150 ‘
Client Matter # 931879l
Requester: Corinne C. Heggie 312-704-3626y
Please remit to above address We appreciate your prompt payment T l
- °ta $50.00

 

 

